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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 LAWRENCE MOTTOLA, Individually                  Case No.
 and as Executor of the Estate of
 ANTHONY MOTTOLA, Deceased;
 WILLIAM R. MURPHY, III, Individually
 and as Administrator of the Estate of
 WILLIAM R. MURPHY, JR., Deceased;
 and LISA KRAUSE, as Attorney-in-Fact
 of JOHN TROWBRIDGE,

                   Plaintiffs,

 vs.

 PENNSYLVANIA DEPARTMENT OF
 MILITARY AND VETERANS
 AFFAIRS, as owner and operator of
 SOUTHEASTERN VETERANS’
 CENTER; ROHAN BLACKWOOD, in
 his individual capacity; and DEBORAH
 MULLANE, in her individual capacity,

                   Defendants.

                                 PLAINTIFFS’ COMPLAINT

       AND NOW, come the Plaintiffs, Lawrence Mottola, Individually and as Executor of the

Estate of Anthony Mottola, Deceased; William R. Murphy, III, Individually and as Administrator

of the Estate of William R. Murphy, Jr., Deceased; and Lisa Krause as Attorney-in-Fact of John

Trowbridge, by counsel, Robert F. Daley, Esquire; D. Aaron Rihn, Esquire; and the law firm of

Robert Peirce & Associates, P.C.; and Daniel C. Levin, Esquire; and the law firm of Levin Sedran

Berman, LLP, and claim damages of the Defendants, Pennsylvania Department of Military and

Veterans Affairs, as owner and operator of Southeastern Veterans’ Center; Rohan Blackwood, in

his individual capacity; and Deborah Mullane, in her individual capacity, and allege the following

in support:

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                                 JURISDICTION AND VENUE

       1.      This Honorable Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331

as certain claims in this action arise under the Constitution and laws of the United States.

       2.      This Honorable Court has supplemental jurisdiction over the common law state

claims pursuant to 28 U.S.C. § 1367.

       3.      Venue is proper in this District under 28 U.S.C. § 1391(b) because all of the events,

actions, and omissions giving rise to the within claims occurred in this District.

                            PARTIES – DECEASED PLAINTIFFS

                                       I.   Anthony Mottola

       4.      Plaintiff Lawrence Mottola is an adult individual with an address of 236 White Oak

Road, Strasburg, Lancaster County, Pennsylvania 17579.

       5.      Lawrence Mottola is the son of the deceased, Anthony Mottola.

       6.      Anthony Mottola died on May 21, 2020 at the age of 87.

       7.      Lawrence Mottola was appointed the Administrator of the Estate of Anthony

Mottola by the Register of Wills for the County of Chester on July 21, 2021.

       8.      As Administrator of the Estate of Anthony Mottola, Lawrence Mottola brings this

action under 42 Pa. Cons. Stat. § 8302 (Survival) on behalf of the Estate of Anthony Mottola.

       9.      As the “personal representative” of the Estate of Anthony Mottola, Lawrence

Mottola brings this action under 42 Pa Cons. Stat. § 8301 (Wrongful Death) and Pa. R. Civ. P.

2202(a) on his own behalf and on behalf of all wrongful death beneficiaries.

       10.     The names and addresses of all persons legally entitled to recover damages for the

wrongful death of Anthony Mottola, and their relationships to him, are as follows:




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       Name                          Address                               Relationship

       Lawrence Mottola              236 White Oak Road                    Son
                                     Strasburg, PA 17579

       Anthony Mottola, Jr.          366 Delaware Avenue                   Son
                                     Staten Island, NY 10305

       Joseph Mottola                509 W. Orange Street                  Son
                                     Litiz, PA 17543

       11.     At no time during his life did Anthony Mottola bring an action to recover damages

for his personal injuries, and no other action has been filed to recover damages for the wrongful

death of Anthony Mottola.

                                  II. William R. Murphy, Jr.

       12.     Plaintiff William R. Murphy, III is an adult individual with an address of 9270

Windy Bush Lane, Breinigsville, Lehigh County, Pennsylvania 18031.

       13.     William R. Murphy, III is the son of the deceased, William R. Murphy, Jr.

       14.     William R. Murphy, Jr. died on April 20, 2020 at the age of 63.

       15.     William R. Murphy, III was appointed the Administrator of the Estate of William

R. Murphy, Jr. by the Register of Wills for Chester County on June 8, 2020.

       16.     As Administrator of the Estate of William R. Murphy, Jr., William R. Murphy, III

brings this action under 42 Pa Cons. Stat. § 8302 (Survival) on behalf of the Estate of William R.

Murphy, Jr.

       17.     As the “personal representative” of the Estate of William R. Murphy, Jr., William

R. Murphy, III brings this action under 42 Pa Cons. Stat. § 8301 (Wrongful Death) and Pa. R. Civ.

P. 2202(a) on his own behalf and on behalf of all wrongful death beneficiaries.

       18.     The names and addresses of all persons legally entitled to recover damages for the

wrongful death of William R. Murphy, Jr., and their relationships to him, are as follows:

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       Name                            Address                             Relationship

       William R. Murphy, III          9270 Windy Bush Lane                Son
                                       Breinigsville, PA 18031

       Shannon M. Murphy               500 75th Avenue N                   Daughter
                                       Apartment 4
                                       St. Petersburg, FL 33702


       James P. Murphy                 518 East Logan Street               Son
                                       Bellefonte, PA 16823


       19.    At no time during his life did William R. Murphy, Jr. bring an action to recover

damages for his personal injuries, and no other action has been filed to recover damages for the

wrongful death of William R. Murphy, Jr.

                                       LIVING PLAINTIFF

                                  I.        John Trowbridge

       20.    Plaintiff Lisa Krause is an adult individual with an address of 823 Spruce Street,

Pottstown, Montgomery County, Pennsylvania 19464.

       21.    Lisa Krause is the daughter and Attorney-in-Fact-of Plaintiff John Trowbridge.

       22.    John Trowbridge is 87 years old and has been a resident at SEVC since 2015.

       23.    Lisa Krause was appointed the Power-of-Attorney of John Trowbridge on

December 3, 2015.

       24.    As Power of Attorney, Lisa Krause is authorized to act on behalf of her father, John

Trowbridge.




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                                  PARTIES – DEFENDANTS

                 I.    Pennsylvania Department of Military and Veterans Affairs
                       as Owner and Operator of Southeastern Veterans’ Center

       25.      The Pennsylvania Department of Military and Veterans Affairs (hereinafter

referred to as “DMVA”) is a governmental agency operated by the Commonwealth of

Pennsylvania, with government offices located at Building S-0-47, Fort Indiantown Gap, Annville,

Lebanon County, Pennsylvania 17003.

       26.      Defendant Southeastern Veterans’ Center (hereinafter referred to as “SEVC”) is a

skilled nursing facility and personal care home located at 1 Veterans Drive, Spring City, Chester

County, Pennsylvania 19475.

       27.      At the time of the incidents pled herein, Defendant DMVA owned and operated

Defendant SEVC as a long-term care facility and a personal care unit.

       28.      DMVA and both its nursing facility/personal care home, SEVC, will collectively

be referred to herein as “SEVC” for the remainder of this Complaint.

       29.      SEVC provides skilled nursing services to our Commonwealth’s veterans and their

families.

       30.      Additionally, SEVC maintains a personal care unit within the facility for veterans

and their families.

       31.      As such, SEVC provides personal care and personal care home medical services to

our Commonwealth’s veterans and their families.

       32.      SEVC has a maximum capacity of 292 residents. 1



1
  Southeastern Veterans’ Center, DEPARTMENT OF MILITARY AND VETERANS AFFAIRS,
COMMONWEALTH OF PENNSYLVANIA,
https://www.dmva.pa.gov/paveteranshomes/SouthEasternVeteransCenter/Pages/default.aspx
(last visited Oct. 12, 2020).
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       33.     SEVC’s employees and agents provide health care and medical services to veteran

residents such as Plaintiffs.

       34.     SEVC operates as a “health care facility” under Pennsylvania’s Heath Care

Facilities Act, 35 P.S. §448.801 et. seq. which “promote[s] the public health and welfare through

the establishment and enforcement of regulations setting minimum standards in the construction,

maintenance and operation of health care facilities.”

       35.     At all relevant times, SEVC was, and is, a “long term care nursing facility” as that

term is defined in 35 P.S. §448.802(a).

       36.     Accordingly, at all relevant times, SEVC was a “health care provider” as that term

is defined in the Medical Care Availability and Reduction of Error Act (MCARE), 40 P.S. §

1303.503.

       37.     As a “health care provider” under the MCARE Act, SEVC is a “licensed

professional” as defined by Pennsylvania Rule of Civil Procedure 1042.1, and Plaintiffs are

asserting professional liability claims, in addition to other claims against this Defendant.

       38.     Additionally, at all relevant times, SEVC was, and is, a “personal care home” as

that term is defined in 55 Pa. Code § 2600.4.

       39.     However, SEVC also served as a medical health care provider for the residents

within its personal care unit when it arranged for medical services, especially when the facility

went into “lockdown” at the height of the COVID-19 pandemic, as the personal care home

residents began getting severely ill, as more thoroughly pled herein.

       40.     At all relevant times, SEVC was acting independently and by and through its

authorized agents, servants and employees who were then and there acting within the course and

scope of their employment.



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                                        II. Rohan Blackwood

        41.        Defendant Rohan Blackwood (hereinafter referred to as “Blackwood” and/or

“Defendant Blackwood”) is an adult individual, who was employed by SEVC as the facility’s

Commandant. Claims in this action are asserted against Defendant Blackwood in his individual

capacity.

        42.        Defendant Blackwood was hired as SEVC’s Commandant in or around 2015.

        43.        On May 16, 2020, Defendant Blackwood was placed on indefinite suspension from

his position as Commandant at SEVC, in part based upon the facts pled herein.

        44.        Defendant Blackwood acted at all relevant times hereto within the scope of his

employment and in his professional capacity as the Commandant of SEVC.

        45.        As the Commandant at SEVC, Defendant Blackwood was responsible for

overseeing and managing the facility to provide care to residents in accordance with current and

applicable federal, state, and local standards, guidelines, and regulations that govern long term

care facilities.

        46.        As the Commandant at SEVC, Defendant Blackwood was further responsible for

ensuring that quality care was provided to all residents at all times.

        47.        Defendant Blackwood was therefore a health care employee who was employed by

the Defendant DMVA as owner and operator of SEVC.

                                        III. Deborah Mullane

        48.        Defendant Deborah Mullane (hereinafter referred to as “Defendant Mullane”

and/or “Mullane”) is an adult individual, who was employed by SEVC as the facility’s Director of

Nursing. Claims in this action are asserted against Defendant Mullane in her individual capacity.




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        49.     Defendant Mullane was hired by SEVC to serve as the facility’s Director of Nursing

(hereinafter “DON”) beginning some time before 2019.

        50.     Defendant Mullane was placed on indefinite suspension from her position as DON

on May 26, 2020, in part based upon the facts pled herein.

        51.     Defendant Mullane acted at all relevant times hereto within the scope of her

employment and in her professional capacity as the DON of SEVC.

        52.     As the DON at SEVC, Defendant Mullane was responsible for planning,

organizing, developing, and directing the overall operation of the nursing services department in

accordance with current federal, state, and local standards, guidelines, and regulations that govern

the facility.

        53.     As the DON at SEVC, Defendant Mullane also was responsible for ensuring that

quality care was provided to all residents at all times.

        54.     Defendant Mullane was therefore a health care employee who was employed by

the Defendant DMVA as owner and operator of SEVC.

                                  FACTUAL ALLEGATIONS

                                  I. Anthony Mottola, Deceased

        55.     Anthony Mottola (hereinafter “Mr. Mottola”) was admitted to SEVC in 2016 for

general help caring for himself after suffering from a stroke in 2008.

        56.     Mr. Mottola’s family would usually visit him once a week while he was living at

SEVC because his family lived about an hour and a half away from the facility.

        57.     However, in March of 2020 Mr. Mottola’s family was informed that the facility

would be suspending visitation due to COVID-19.

        58.     Thereafter, Mr. Mottola’s family conducted weekly phone calls with Mr. Mottola.



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       59.       Mr. Mottola was tested for COVID-19 at the end of March into early April of 2020,

as SEVC informed his family that the facility had an abundance of tests and would be testing

everyone. Mr. Mottola was negative for COVID-19 at this time.

       60.       On May 12, 2020, Mr. Mottola’s family had a telephonic family care meeting with

SEVC staff, at which time Mr. Mottola was said to be doing well.

       61.       About a week after this phone call, Mr. Mottola’s arm was bothering him, and an

x-ray was completed.

       62.       The following day, SEVC staff called to let Mr. Mottola’s family know that Mr.

Mottola had a cough. A chest x-ray was conducted, and Mr. Mottola was diagnosed with pre-

pneumonia. Mr. Mottola also was tested for COVID-19 this day.

       63.       On May 16, 2020, SEVC staff called to inform Mr. Mottola’s family that his

COVID-19 test was positive.

       64.       On May 18, 2020, a social worker at SEVC updated Mr. Mottola’s family and said

that Mr. Mottola was doing well.

       65.       However, the next day, on May 19, 2020, a SEVC nurse called and informed the

family that Mr. Mottola was having trouble breathing, required oxygen, and was placed on a

morphine drip.

       66.       On May 20, 2020, SEVC staff called to ask Mr. Mottola’s family if they wanted

Mr. Mottola sent to the hospital, as his condition continued to decline. Pursuant to Mr. Mottola’s

health care initiative, Mr. Mottola was a “do not resuscitate.” Accordingly, the family declined to

transfer Mr. Mottola to the hospital.

       67.       Mr. Mottola died on May 21, 2020 at SEVC.




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       68.     Mr. Mottola’s Death Certificate reflects that his causes of death were COVID-19,

acute hypoxic respiratory failure, and pneumonia.

                             II. William R. Murphy, Jr., Deceased

       69.     William R. Murphy, Jr. (hereinafter “Mr. Murphy, Jr.”) was admitted to SEVC on

August 9, 2019 for nursing services, namely general help caring for himself, medication

management, and rehabilitation for balance issues.

       70.     On February 8, 2018, Mr. Murphy, Jr. was initially admitted to SEVC as a resident

of the personal care unit after he was diagnosed with CNS lymphoma.

       71.     As a personal care resident, Mr. Murphy, Jr. was permitted to leave SEVC, and he

frequently went to Wawa. After one of his trips to Wawa, however, Mr. Murphy, Jr. was found in

a ditch on SEVC’s premises after being missing for several hours.

       72.     Mr. Murphy, Jr. was sent to the hospital following this incident, but no one from

SEVC called to inform William Murphy, III (hereinafter “Mr. Murphy, III”) that his father had

been missing or that he was being sent to the hospital.

       73.     Following this incident, Mr. Murphy, Jr. was transferred to the skilled nursing unit

of SEVC, specifically Wing 3E, where he remained for the duration of his stay during the COVID-

19 pandemic.

       74.     While a resident of SEVC’s skilled nursing facility, Mr. Murphy, Jr. missed

approximately four or five appointments with the Veteran’s facility hospital where he was

supposed to have his oncology follow-up appointments.

       75.     On March 9, 2020, SEVC sent out letters to its residents’ families regarding the

COVID-19 precautions that it implemented, including halting visitations at the facility.




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        76.     On March 19, 2020, Mr. Murphy, III received an email from SEVC indicating that

the facility did not have any COVID-19 positive residents or staff members.

        77.     A few weeks later, on April 3, 2020, SEVC sent a letter to Mr. Murphy, III

confirming that the facility had one or more confirmed COVID-19 cases within the facility.

        78.     On April 8, 2020, Mr. Murphy, III received an email from a social worker at the

facility named Melissa Hall stating that she would try to set up a video call between Mr. Murphy,

III and his father.

        79.     That same day, Mr. Murphy, III was informed that Wing 3E, where his father

resided, had two or more positive cases and based upon SEVC’s new policy, everyone else on the

wing would be presumed positive. As such, SEVC determined that residents on the floor would

no longer be tested for COVID-19.

        80.     On April 9, 2020, Mr. Murphy, Jr. had a temperature of 99.8.

        81.     After this first symptom developed, Mr. Murphy, Jr. quickly began developing

other symptoms of COVID-19 but was never isolated or moved away from other residents.

Additionally, pursuant to SEVC’s “presumptive positive” policy, Mr. Murphy, Jr. was never tested

for COVID-19.

        82.     Thereafter, Mr. Murphy, Jr. continued to decline.

        83.     SEVC staff asked Mr. Murphy, III if he wanted his father transferred to a hospital

or hospice, but Mr. Murphy, III declined in accordance with Mr. Murphy, Jr.’s living will.

        84.     During Easter weekend of 2020, despite numerous attempts, Mr. Murphy, III was

unable to receive any updates from SEVC staff regarding his father’s condition.

        85.     On Monday, April 13, 2020, Mr. Murphy, III was informed that his father’s oxygen

levels were low.



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       86.    Just a few days later, on April 20, 2020, Mr. Murphy, Jr. died at SEVC.

       87.    Mr. Murphy, Jr.’s Death Certificate reflects that his cause of death was COVID-19

and pneumonia.

                                 III. John Trowbridge, Living

       88.    John Trowbridge (hereinafter “Mr. Trowbridge”) was admitted to SEVC in 2015.

       89.    Lisa Krause (“Ms. Krause”), Mr. Trowbridge’s daughter, was not initially informed

that Mr. Trowbridge’s condition was declining due to COVID-19, but she knew he was not feeling

well after speaking to him on the phone.

       90.    On April 15, 2020, Mr. Trowbridge went into Atrial Fibrillation (“A-Fib”).

       91.    On April 16, 2020, Ms. Krause was informed by SEVC staff that her father had

gone into A-Fib and needed to be taken to Pottstown Memorial Hospital. At this time, Mr.

Trowbridge had not been tested for COVID-19 while at SEVC.

       92.    On April 17, 2020, while at Pottstown Memorial Hospital, Mr. Trowbridge tested

positive for COVID-19.

       93.    Mr. Trowbridge remained at Pottstown Memorial Hospital for ten days while being

treated for COVID-19. He was transferred back to SEVC on April 27, 2020.

       94.    Though Mr. Trowbridge survived COVID-19, he still has reciprocal effects of the

virus that have drastically impacted his day-to-day life. Specifically, Mr. Trowbridge has a hard

time breathing and can barely speak as a result of COVID-19.




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                              Facts Common to All Causes of Action

                                  I. SEVC’s COVID-19 Outbreak

        95.     On March 6, 2020, in response to the rising concern of COVID-19, Pennsylvania

Governor Tom Wolf issued an Emergency Order which required Pennsylvania residents to stay at

home unless they were essential workers.

        96.     At the same time, the Pennsylvania Department of Health (“DOH”), issued new

guidelines for its inspection of nursing facilities. 2

        97.     First, the DOH suspended all “regular” on-site inspections of health care facilities,

even for facilities that had previously been cited for violating infection-control regulations.

        98.     Next, the DOH limited its complaint-based inspections to only those situations
                                                                        3
where a facility was putting a resident in “immediate jeopardy.”            “Immediate jeopardy” was

defined as when a nursing home’s “noncompliance has placed the health and safety of recipients

in its care at risk for serious injury, serious harm, serious impairment or death.” 4




2
  The Pennsylvania Department of Health licenses skilled nursing facilities and long-term care
facilities located in the Commonwealth of Pennsylvania. The DOH is also responsible for
conducting regular and complaint-based inspections of the facilities it licenses to ensure that these
facilities are complying with the mandatory requirements for operation. These mandatory
requirements come from state and federal regulations that provide minimum standards for patient
care. If the DOH finds that a nursing facility has violated a regulation, the DOH can issue a citation.
A monetary fine may accompany this citation. The DOH will also require the nursing facility to
submit a written plan to correct its deficiencies. The DOH will monitor the facility to ensure that
deficiency is corrected.
3
  Candy Woodall, As Coronavirus Deaths Increase, Pa. Nursing Homes Have Less State and
Federal        Oversight,       YORK          DAILY         RECORD          (Apr.     24,       2020),
https://www.ydr.com/story/news/2020/04/24/coronavirus-leads-pa-stop-routine-safety-
inspections-nursing-homes/3016487001/.
4
  State Operations Manuel Appendix Q – Core Guidelines for Determining Immediate Jeopardy,
CENTERS       FOR     MEDICARE        AND       MEDICAID        SERVICES,      (March     6,     2019)
https://www.cms.gov/Regulations-and-
Guidance/Guidance/Manuals/downloads/som107ap_q_immedjeopardy.pdf.
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       99.     On March 9, 2020, SEVC placed its facilities on “lockdown” and visitors were no

longer allowed inside the building to see residents.

       100.    Notably, since the building was on lockdown, residents within the personal care

unit were no longer able to leave the building. Accordingly, these residents depended on SEVC to,

not only provide personal care services, but also to prevent them from contracting COVID-19,

ensure they were healthy in their rooms, and provide medical care.

       101.    On March 18, 2020, SEVC informed the residents’ families that there were no

active cases of COVID-19 in the facility.

       102.    However, twelve days earlier, SEVC staff informed another resident’s son, who is

a named plaintiff in the previously filed related case against SEVC, Ian Horowitz, that the facility

learned of the first resident to test positive for COVID-19 on March 6, 2020.

       103.     On March 31, 2020, SEVC, again, reassured the residents’ families the facility did

not have any COVID-19 positive residents and it was following guidelines to ensure that all

residents were safe.

       104.    However, all throughout the month of March, as the virus began to spread across

the world, SEVC still forced residents to eat in the cafeteria together.

       105.    Even residents who began showing symptoms of COVID-19 were brought into the

cafeteria to eat with other residents, thus, exposing the greater group of residents. 5




5
  Pa. Auditor General Eugene A. DePasquale, Protecting Our Protectors: A Review of State
Veterans     Homes,     PENNSYLVANIA      AUDITOR     GENERAL,     (Dec.    2,    2020)
https://www.paauditor.gov/Media/Default/Reports/RPT_DMVA_120220_FINAL.pdf        [herein
“Pa. Auditor General Report”].
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       106.    Additionally, SEVC was not providing proper personal protective equipment to its

employees; instead, employees working on the floors with infected residents were only given

surgical masks, while administrators in offices used the protective N95 masks. 6

       107.    SEVC staff later reported that they were given one mask for every five shifts they

worked; however, SEVC administrators told the staff not to wear the masks around residents

because it would scare the residents. 7

       108.    On April 4, 2020, SEVC notified families that “one or more resident(s)” tested

positive for COVID-19.

       109.    At the beginning of April, SEVC closed the cafeteria, but instead opened small

recreation rooms for all of the residents to eat together on each floor.

       110.    Shortly thereafter, on April 17, 2020, the PHILADELPHIA INQUIRER released an

article entitled: “Coronavirus has killed at least 10 at a state-run veteran’s home in Chester County.

The National Guard is on site.” 8

       111.    The above-mentioned article is how the residents’ families first learned about the

COVID-19 deaths at SEVC, as the facility did not notify, update, or inform any of the families

regarding the spread of the virus.

       112.    The PHILADELPHIA INQUIRER informed the public that between April 9, 2020 and

April 15, 2020, COVID-19 deaths within SEVC had climbed from one resident to nine residents,




6
  William Bender et al., Inept Boss, Altered Records, Ignored Warnings at Pa. Vets’ Nursing Home
with 38 COVID Deaths, THE PHILADELPHIA INQUIRER, (last updated May 30, 2020),
https://www.inquirer.com/news/southeastern-veterans-center-coronavirus-deaths-chester-county-
nursing-home-rohan-blackwood-20200530.html.
7
  Pa. Auditor General Report, supra note 5.
8
  Bender et al., supra note 6.
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and the tenth resident died a few short days later. By mid-April, as many as four residents were

dying per day. 9

        113.   During this same time frame, nineteen SEVC staff members also tested positive for

the virus.

        114.   On Wednesday April 15, 2020, the National Guard sent 30 members into SEVC in

an attempt to help the facility stop the spread of the virus.

        115.   While the number of infected staff and residents began to rise, SEVC implemented

a procedure to halt the testing of residents who resided in a unit with two or more COVID-19

positive residents. SEVC determined that all residents within these units, whether they had

symptoms or not, were “presumed” to be positive, notwithstanding the absence of tests.

        116.   On April 18, 2020, SEVC sent an email to the residents’ families stating that the

facility had “several positive cases of COVID-19 in our building,” but the facility did not disclose

any of the numerous deaths that had occurred. In this email, SEVC stated that “if any resident test

positive here at the home, the family will immediately be notified.”

        117.   By April 19, 2020, the Chester County Coroner confirmed that Chester County had

fifty-two COVID-19 deaths, thirty-two of those deaths occurred between April 10, 2020 and April

16, 2020.

        118.   On April 19, 2020 the Centers for Medicare & Medicaid Services (hereinafter

“CMS”) announced new regulatory requirements for nursing homes, which required facilities to

inform all residents and their families of COVID-19 cases within their facilities. CMS then

reported those cases to the Centers for Disease Control and Prevention (hereinafter “CDC”). 10



9
 Bender et al., supra note 6.
10
  Press Release, CENTERS FOR MEDICARE & MEDICAID SERVICES, Trump Administration
Announces New Nursing Homes COVID-19 Transparency Effort (Apr. 19, 2020),
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          119.   By April 26, 2020, SEVC had twenty-seven COVID-19 deaths—the most of any

nursing facility in Chester County. By these statistics, SEVC’s death toll nearly tripled in a 5-day

period.

          120.   On April 28, 2020, state and local officials began calling for an “immediate

investigation” into SEVC’s handling of COVID-19. These officials included: Senator Katie Muth,

the Chester County Coroner, Christina VandePol, and State Auditor General, Eugene

DePasquale. 11

          121.   A statement released by Senator Katie Muth on April 28, 2020 follows:

                 The situation at the Southeast Veterans is absolutely unacceptable.
                 For the last three weeks, I’ve received calls and emails from
                 concerned family members, worried about their loved ones, asking
                 questions about what’s being done to stop further spread of this
                 virus. Long-term care facilities, like SEVC, are struggling to keep
                 the virus from infecting both residents and staff, and with inadequate
                 testing capacity and unreliable supply chains for personal protective
                 equipment (PPE), this struggle becomes even more
                 challenging. There are many unanswered questions about the surge
                 of cases and deaths at the center, and without answers of substance,
                 it’s clear that the current plan is failing. 12

          122.   Also, on April 28, 2020, Coroner VandePol was quoted stating:

                 “The sheer number of deaths at the Veterans’ Center in such a short
                 period of time warrants an immediate investigation. We have no
                 idea what is going on there or how this outbreak is being handled.
                 Are all COVID-19 deaths being reported to us, as they should be by


https://www.cms.gov/newsroom/press-releases/trump-administration-announces-new-nursing-
homes-covid-19-transparency-effort.
11
   Vinny Vella & William Bender, THE PHILADELPHIA INQUIRER, ‘We Have No Idea What Is Going
on There’: Pa. and Local Officials Call for Probe of Veterans’ Nursing Home (Apr. 28, 2020),
https://www.inquirer.com/news/southeastern-veterans-center-cheter-county-investigation-
seniors-covid-coronavirus-20200428.html.
12
   Press Release, SENATOR KATIE MUTH, State Sen. Muth, Chester County Coroner VandePol Call
for Immediate Investigation into Chester County Southeast Veterans Center amidst Growing
COVID-19 Concerns (Apr. 28, 2020), https://www.senatormuth.com/state-sen-muth-chester-
county-coroner-vandepol-call-for-immediate-investigation-into-chester-county-southeast-
veterans-center-amidst-growing-covid-19-concerns/ [hereinafter Senator Muth Press Release].
                                                  17
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                law? It appears that since Monday, April 27, they are no longer
                being reported to my office. Are there deaths written off as due to
                other causes because the residents are not being tested? Are
                appropriate safety precautions in place for residents and staff? I’ve
                been informed the State has suspended inspections of long-term care
                facilities as well as ombudsman programs. Families have little or no
                access to their loved ones, either. So, this is a closed system with no
                one able to see what is going on. That’s a recipe for disaster.” 13

        123.    On April 29, 2020, Senator Muth shared that she had been in contact with SEVC

staff. Staff disclosed to Muth that the facility falsified documents, improperly tested residents and

staff, lacked isolation for positive residents, and intimidated staff in an effort to prevent them from

alerting officials regarding the reality of SEVC’s handling of the virus. 14

        124.    Following the growing concern from families and state officials, SEVC’s

Commandant, Defendant Blackwood, held a staff meeting forbidding any staff from speaking to

Senator Muth or with any family member who has spoken to the media.

        125.    After Defendant Blackwood’s intimidation of the staff at the meeting, staff

members were fearful of being fired if they spoke about the conditions within SEVC. 15

        126.    Residents’ families were fearful of retaliation from Defendant Blackwood as well

because he had a history among residents’ families of threating them if they questioned his

authority. 16




13
   Bender et al., supra note 6.
14
   Jeff Cole, FOX 29 PHILADELPHIA, Officials Call For “Immediate Investigation” of Chester
County Nursing Home over COVID-19 Concerns, FOX 29 PHILADELPHIA, (Apr 29, 2020),
https://www.fox29.com/news/officials-call-for-immediate-investigation-of-chester-county-
nursing-home-over-covid-19-concerns.
15
   Bender et al., supra note 6.
16
   Bender et al., supra note 6.
                                                  18
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        127.     On May 2, 2020, Defendant Blackwood sent a letter to the residents’ families which

stated that the media had misrepresented the situation inside of the facility, and SEVC attempted

to reassure the residents’ families that their loved ones were safe.

        128.     Furthermore, SEVC was vastly understaffed before and during the COVID-19

pandemic. Many attributed the understaffing to Defendant Blackwood and the working conditions

he created. 17

        129.     As the facility’s number of positive COVID-19 residents continued to rise, on May

12, 2020, Pennsylvania Attorney General Josh Shapiro announced that his office had opened

criminal investigations into “several nursing homes,” but did not specify how many facilities,

which facilities, or any specific allegations.

        130.     On May 21, 2020, plaintiff in a related matter, Ian Horowitz, received a telephone

call from Michael Collins of the Pennsylvania Attorney General’s Office (hereinafter “AG’s

Office”). Mr. Collins explained to Mr. Horowitz that the AG’s Office wanted to speak with

SEVC’s staff in order to collect more information regarding the state of SEVC; therefore, Mr.

Collins asked that Mr. Horowitz give his contact information for SEVC’s staff to the AG’s Office.

        131.     As of May 20, 2020, SEVC had forty-seven COVID-19 deaths, all of which

occurred after April 1, 2020. The death rate at SEVC during this time is drastically higher than the

facility’s average rate of 1.2 deaths per month. 18

        132.     On May 20, 2020, SEVC sent a letter to the residents’ families which stated that it

began to test all residents and staff for COVID-19.


17
  Bender et al., supra note 6.
18
   Evan Brandt, Despite High Death Roll, Inspections Reveal No Missteps at Southeast Veterans
Center, THE MERCURY, (Apr 29, 2020), https://www.pottsmerc.com/news/despite-high-death-
roll-inspections-reveal-no-missteps-at-southeast-veterans-center/article_a894a32a-9096-11ea-
b786-a7878ba4dcaf.html.

                                                  19
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        133.    However, staff informed Mr. Horowitz that the facility was not actually testing the

residents as the letter claimed.

        134.    On May 23, 2020, SEVC sent an email to the residents’ families informing them

that ninety-nine residents and forty-one staff members had tested positive for COVD-19.

        135.    On May 26, 2020, SEVC Commandant, Rohan Blackwood, and the Director of

Nursing, Deborah Mullane, were both placed on indefinite suspension from the facility.

        136.    By May 30, 2020, SEVC had over 110 COVID-19 positive residents between its

skilled nursing facility and its personal care unit.

        137.    Tom Tosti, an officer of the American Federation of State, County, and Municipal

Employees (“AFSCME”), the union that represents VA facility nurses, stated that the State Bureau

of Veterans Homes began investigating complaints made in April of 2020 regarding working

conditions, but interviews took longer than expected and had to be relocated, as staff were afraid

that they would be fired for speaking with investigators.

        138.    As of October 14, 2020, the Department of Human Services reported that SEVC’s

personal care unit had a total of 25 COVID-19 positive residents, of which, 6 residents died. 19

        139.    As of December 8, 2020, the DOH reported that SEVC’s skilled nursing facility

had a total of 111 COVID-19 positive residents, of which, 42 residents died. 20




19
   COVID-19 Personal Care and Assisted Living Data—COVID-19 Cases Associated with
Nursing Homes and Personal Care Homes to Date by Facility Name, DEPARTMENT OF HEALTH
AND               HUMAN           SERVICES           (Sept.         15,           2020),
https://sais.health.pa.gov/CommonPOC/Content/PublicWeb/PDF/PQ881191346361000L.PDF
[hereinafter DHS COVID Personal Care Data].
20
   COVID-19 Long-Term Care Facility Data-- COVID-19 Cases Associated with Nursing Homes
and Personal Care Homes to Date by Facility Name, DEPARTMENT OF HEALTH AND HUMAN
SERVICES (Dec. 8, 2020),
https://sais.health.pa.gov/CommonPOC/Content/PublicWeb/PDF/PQ881191346361000L.PDF
[hereinafter DOH COVID Long-Term Care Data].
                                                  20
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       140.    The DOH reported that SEVC had 71 COVID-19 positive employees as of

December 8, 2020. 21

       141.    Statistically, SEVC’s COVID-19 numbers are an outlier when compared to other

state-run veteran’s facilities. The Department of Veterans Affairs has five other facilities within

the Commonwealth. Pursuant to the December 8, 2020, each of the five other state-run facilities

have fewer than fifteen COVID-19 related deaths.

                          II. The Department of Health Investigation

       142.    Following numerous complaints about SEVC’s handling of COVID-19, the

Pennsylvania Department of Health conducted an on-site inspection of SEVC over the course of

several days, concluding on June 9, 2020.

       143.    The DOH’s inspection included reviewing SEVC’s written policies and procedures,

observing staff providing care to residents, and interviewing staff.

       144.    As a result of this inspection, the DOH cited SEVC for numerous infractions and

deficiencies, including SEVC’s non-compliance with federal requirements for infection control.

The DOH found that SEVC “failed to implement the CMS and CDC recommended practices for

COVID-19 and to prevent the potential for cross contamination of infection.” 22

       145.    The DOH determined the following:

               the facility failed to ensure that policies and procedure were in place
               to trace and investigate COVID-19 presumptive positive and
               positive residents and staff to mitigate or potentially control the
               spread of the coronavirus, failed to follow CDC (Center for Disease
               Control) guidelines, CMS (Center for Medicare/Medicaid Services)
               guidelines and Pennsylvania Department of Health (DOH)


21
   DOH COVID Long-Term Care Data, supra note 20.
22
   DOH Statement of Deficiencies and Plan of Correction (POC), DEPARTMENT OF HEALTH AND
HUMAN SERVICES HEALTH CARE FINANCING ADMINISTRATION (June 9, 2020),
https://sais.health.pa.gov/CommonPOC/Content/PublicWeb/PDF/PQ881191346361000L.PDF
[hereinafter DOH POC] (Attached as Exhibit 1).
                                                 21
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                guidelines to reduce the spread of infections and prevent cross-
                contamination during the COVID-19 pandemic… 23

         146.   The DOH also concluded that 128 of the 154 residents in the facility were in

“Immediate Jeopardy.” 24

         147.   The DOH reported the following from its interviews and observations of SEVC

employees:

                a.     “An observation on June 1, 2020, at 8:10 a.m. of the
                       screening process revealed no social distancing at the
                       entrance to the building and no screening questionnaire form
                       was used by the security guard at the entrance to the
                       building.”

                b.     “Interview on June 1, 2020, at 9:55 a.m. with the Infection
                       Preventionist (Employee 2) revealed that not all of the staff
                       had been fit tested [A process in which people who are
                       required to wear negative-pressure respirators (i.e. N95) are
                       examined with a rigorous protocol in which the tester
                       challenges the face-to-face piece seal with a chemical
                       agent].”

                c.     “June 2, 2020, at 8:20 a.m. interview with the Acting
                       Commandant revealed CDC guidelines were not followed
                       when residents who were tested positive and after timeline
                       (14 days) were left on a positive unit. There was no tracing
                       or tracking in place.”

                d.     “Interview with NA 3 on June 2, 2020, at 10:15 a.m.
                       confirmed that staff have been pulled from positive to
                       negative units and back the same day. NA 3 stated,
                       ‘Sometimes when I come in there isn't any PPE. I know they
                       have it, but why do we have to beg for stuff that we have to
                       wear, or we get PDC'd (Preliminary Disciplinary
                       Committee). We had to take care of positive residents
                       without being fit tested. The fit testing just started a week
                       ago.’”

                e.     “During an interview with LPN 2 on June 2, 2020, at 10:25
                       a.m. it was stated, ‘that we will be fired for talking to you.


23
     DOH POC, supra note 22, Ex. 1.
24
     DOH POC, supra note 22, Ex. 1.
                                                22
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              Watching people die was awful. We were told to wrap the
              residents in a body bag and meet the undertaker at the
              elevator.’”

       f.     “NA 3 went on to say no one from administration came on
              the floor because they didn’t want to put gear on. What
              makes them better than us? There was a girl who was
              positive and worked the entire time. They also kept the
              residents in the dining rooms too long. We had problems, we
              knew some residents had something, but no one would do
              anything. We weren’t allowed to wear PPE, or we would get
              written up. We were told it would scare the residents.”

       g.     “On June 2, 2020, at 10:35 a.m. an interview with NA 4
              revealed that she observed Employee 2 enter a positive room
              with no gown and mask on. Then was off for two weeks.”

       h.     “NA 2 revealed that no testing was done before April 5,
              2020, because of arrogance. Resident 4A and Resident 13A
              were first tested. I tested positive on April 10, 2020, but back
              at work on April 12, 2020.”

       i.     “During an interview with NA 2, she was asked, are you to
              be wearing a mask? NA [2]’s [sic] response was “I was hot,
              so I took it off. I just masked up and I can’t breathe.” The 4
              CLC B is a COVID-19 positive unit.”

148.   The DOH cited SEVC for the following violations:

       a.     Maintaining residents on units with COVID-19 positive
              residents when their testing was negative;

       b.     Failing to have a policy or protocol for the management of
              COVID-19 positive and negative residents;

       c.     Placing male and female residents in the same room without
              notifying or receiving consent from responsible parties;

       d.     Failing to ensure that resident’s representatives were notified
              about changes in condition and treatment;

       e.     Failing to maintain clinic records that were complete and
              accurately documented, specifically staff documented
              COVID-19 testing in the wrong residents’ files;




                                        23
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                f.      Failing to ensure that designated interdisciplinary team
                        member obtained the required information from the
                        contracted hospice provider;

                g.      Failing to make certain, prior to the COVID-19 outbreak,
                        that the Commandant, Defendant Blackwood, and Director
                        of Nursing, Defendant Mullane, were in attendance for
                        quarterly Quality Assurance Process Improvement
                        Committee meetings for two of four quarters, specifically
                        July 2019 and April 2020;

                h.      Failing to ensure that policies and procedures were in place
                        to trace and investigate COVID-19 presumptive positive and
                        positive residents and staff to mitigate or potentially control
                        the spread of COVID;

                i.      Failing to follow CDC, CMS, and DOH guidelines to reduce
                        the spread of infections and prevent cross contamination;

                j.      Failing to test residents and staff at all prior to April 5, 2020;

                k.      Failing to end communal dining before April 1, 2020;

                l.      Failing to adequately test staff, specifically only 21% of staff
                        had been tested since May 28, 2020;

                m.      Failing to follow proper social distancing protocols at
                        entrance of the facility and failed to have security use a
                        screening questionnaire for entrance;

                n.      Failing to properly fit test all staff with protective N95
                        masks; and,

                o.      Allowing employees to work on both COVID-19 positive
                        and negative units during the same day.

         149.   The DOH additionally determined that the Commandant, Defendant Blackwood,

and the Director of Nursing, Defendant Mullane, “did not effectively manage the facility to make

certain that proper infection control procedures were followed to protect residents from cross-

contamination, infection, virus, and disease in the facility.” 25



25
     DOH POC, supra note 22, Ex. 1.
                                                   24
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       150.    The DOH concluded that the Commandant, Defendant Blackwood, and the

Director of Nursing, Defendant Mullane, “failed to fulfill their essential job duties to ensure that

the federal and state guidelines and regulations were followed.” 26

       151.    Commandant, Defendant Blackwood, and the Director of Nursing, Defendant

Mullane, failed to fulfill their essential job duties to ensure that federal and state guidelines and

regulations were followed. They also failed to maintain an infection prevention and control

program which placed residents in immediate jeopardy. 27

       152.    More specifically, Defendant Blackwood and Defendant Mullane:

               a.      Failed to ensure proper screening of staff entering the
                       building;

               b.      Failed to implement tracing and investigation of positive
                       COVID-19 residents and staff;

               c.      Failed to ensure that multi-use equipment was properly
                       cleaned and disinfected; and,

               d.      Failed to ensure staff had access to and used proper PPE,
                       used proper hand-hygiene, and properly stored/handled
                       linens to prevent the potential for cross contamination of
                       disease. 28

       153.    As evidenced above, the DOH found that SEVC failed to have proper policies and

procedures in place regarding infection prevention prior to the COVID-19 pandemic, failed to have

proper staffing in place prior to the COVID-19 pandemic, and failed to have proper leadership

prior to the COVID-19 pandemic, and, as a result, these aforementioned failures led to the




26
   DOH POC, supra note 22, Ex. 1.
27
   Senator Muth Press Release, supra note 12.
28
   DOH POC, supra note 22, Ex. 1.
                                                 25
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mishandling of the pandemic and resulted in SEVC putting 128 of the 154 residents in “immediate

jeopardy.” 29

                                   COUNT I:
 VIOLATION OF CIVIL RIGHTS ENFORCEABLE PURSUANT TO 42 U.S.C. § 1983 –
                       Cruel and Unusual Punishment
                    (All Plaintiffs vs. Rohan Blackwood)

         154.   The averments of the previous paragraphs are incorporated by reference as if fully

set forth.

         155.   Section 1983 provides that: “every person who, under color of [law] of any State. .

. subjects, or causes to be subjected, any [person] to the deprivation of any rights. . . secured by

the Constitution and laws, shall be liable to the party injured in an action at law. . .” 42 U.S.C. §

1983.

         156.   Actions against state officials seeking redress for violations of constitutional rights

may be brought under 42 U.S.C. § 1983.

         157.   Plaintiffs are “persons” within the meaning of 42 U.S.C. § 1983.

         158.   Defendant Blackwood acted in his official capacity as Commandant of SEVC, a

state-run facility, and was, therefore, acting under the color of state law. Defendant Blackwood’s

actions and inactions violated Plaintiffs’ Eighth Amendment rights, made applicable to the states

under the Fourteenth Amendment, which is actionable under 42 U.S.C. § 1983.

         159.   Under the Eighth Amendment to the United States Constitution, made applicable

to the states pursuant to the Fourteenth Amendment, government agencies are prohibited from

subjecting citizens to cruel and unusual punishment. Actions of government officials




29
     DOH POC, supra note 22, Ex. 1.
                                                  26
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demonstrating deliberate indifference to the serious medical needs of U.S. citizens represents cruel

and unusual punishment, as established in Estelle v. Gamble, 429 U.S. 97 (1976).

        160.    Residents of skilled nursing facilities, specifically including Plaintiffs herein, rely

on the facility, and therefore on the facility’s administrators, to attend to their medical needs.

        161.    Under normal circumstances, if necessary, residents of skilled nursing facilities

could leave the facility to seek medical care if adequate care was not being properly provided by

the facility.

        162.    However, during the COVID-19 pandemic, and at all times relevant hereto,

residents, including Plaintiffs, were not permitted exit the facility due to lockdown procedures.

        163.    Furthermore, the families of residents, including Plaintiffs, were not permitted to

enter the building to check on the level of care their loved ones were receiving.

        164.    As such, nursing and personal care staff of SEVC were the sole providers of

medical services to skilled and personal care residents during the lockdown periods from early

March until very recently or even presently.

        165.    Residents had absolutely no ability to seek, solicit, or find alternative medical care

when the Defendants failed to provide adequate and basic care, or often failed to provide care

altogether, which ultimately amounted to cruel and unusual punishment under the Eighth

Amendment, made actionable under the Fourteenth Amendment.

        166.    The actions of Defendant Blackwood detailed above violated Plaintiffs’ rights

under the United States Constitution. In short, it was not objectively reasonable for Defendant

Blackwood to ignore the serious medical problems and risks presented by the COVID-19 outbreak

among a vulnerable population and refuse to take appropriate and necessary measures to prevent




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such an outbreak. In fact, Defendant Blackwood’s actions demonstrate a deliberate indifference to

Plaintiffs’ serious medical needs.

       167.    There should have been policies and procedures in place, both before and during

the pandemic, to ensure that Plaintiffs’ medical needs, along with all other SEVC residents’ needs,

were being properly considered and evaluated. All of the aforementioned deficiencies establish

not only deliberate indifference on the part of Defendant Blackwood, but actual malice with respect

to Plaintiffs’ life-threatening, and ultimately fatal as it relates to Plaintiffs Mottola and Murphy,

medical conditions.

       168.    Defendant Blackwood intentionally ignored and/or was deliberately indifferent to

the need for appropriate policies and procedures of SEVC’s the handling of COVID-19. Further,

he intentionally ignored Plaintiffs’ needs for medical attention. Defendant Blackwood

intentionally deprived Plaintiffs of their constitutional right to medical treatment which ultimately

caused the deaths of Plaintiffs Mottola and Murphy, and serious medical harm of Plaintiff

Trowbridge. The actions and inactions of Defendant Blackwood represent a violation of Plaintiffs’

rights under the Eighth Amendment to the United States Constitution.

       169.    Defendant Blackwood’s actions were motivated by bad faith and malice as he

intentionally subjected the Plaintiffs to the spread of the virus, and he willfully denied Plaintiffs

timely medical assistance after they became ill which could have saved Plaintiffs Mottola and

Murphy’s lives.

       170.    The aforementioned deliberate indifference to Plaintiffs’ serious medical needs was

consistent with SEVC’s custom and policy of providing inadequate medical care to residents,

which was developed and implemented by Defendant Blackwood.




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       171.    The deliberate indifference of the Defendant Blackwood included, but was not

limited to the following:

               a.      Intentionally failing to establish and maintain a policies and
                       procedures to prevent the spread of COVID-19;

               b.      Intentionally understaffing the facility;

               c.      Failing to implement social distancing procedures among
                       residents, staff, and visitors;

               d.      Failing to implement any sort of quarantine procedures when
                       residents were showing symptoms of the virus or were
                       exposed to the virus;

               e.      Failing to assess and treat the symptoms of sick residents;

               f.      Failing to send residents to the hospital when their
                       conditions worsened;

               g.      Failing to notify families of residents’ changing conditions;

               h.      Failing to notify families regarding the status of the spread
                       of the virus within the facility;

               i.      Lying to the families regarding the number of sick residents
                       in the facility;

               j.      Lying to the families by stating their loved ones were healthy
                       while the residents were showing severe symptoms of the
                       virus;

               k.      Instructing staff to lie to families regarding residents’
                       conditions;

               l.      Instructing staff to not allow any resident to go to the
                       hospital despite the urgency of the residents’ conditions;

               m.      Denying staff members personal protective equipment;

               n.      Denying residents personal protective equipment;

               o.      Refusing to permit staff to speak to families and/or the
                       media/public regarding the status of the virus within the
                       facility;

                                                 29
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              p.      Refusing to permit staff to speak to the Pennsylvania
                      Department of Health;

              q.      Failing to properly keep families, outside medical
                      professionals, the Pennsylvania Department of Health, and
                      the general public up to date with the health situation inside
                      the facility;

              r.      Failing to test any resident within the facility for COVID-19
                      for several weeks;

              s.      Failing to track the contact spread of the virus;

              t.      Creating an extreme risk of exposure and danger to residents
                      by presuming the entire facility, all residents, and all staff
                      were positive for COVID-19 when in fact they were not all
                      infected;

              u.      Failing to test employees within the facility;

              v.      Moving employees from COVID-19 positive floors to
                      COVID-19 negative floors within the same shift;

              w.      Falsifying records;

              x.      Intentionally failing to provide adequate staff training and
                      education on infection prevention and control;

              y.      Failing to oversee the facility in providing care to residents;
                      and,

              z.      Failing to request assistance from the proper authorities
                      when it became apparent that COVID-19 was spreading
                      throughout the facility.

       172.   As a direct and proximate result of the unconstitutional acts as described above,

Plaintiffs were irreparably injured as a result of Defendant Blackwood’s actions, and Plaintiffs

Mottola and Murphy died as a result of Defendant Blackwood’s actions.

       WHEREFORE, Plaintiffs Lawrence Mottola, Individually and as Executor of the Estate of

Anthony Mottola, Deceased; William R. Murphy, III, Individually and as Administrator of the



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Estate of William R. Murphy, Jr., Deceased; and Lisa Krause, as Attorney-in-Fact of John

Trowbridge, claim damages of Defendant Blackwood, and demand compensatory and punitive

damages from the Defendant in an amount in excess of the jurisdictional arbitration limits, together

with interest, and any other relief this Honorable Court deems appropriate.

                                 COUNT II:
VIOLATIONS OF CIVIL RIGHTS ENFORCEABLE PURSUANT TO 42 U.S.C. § 1983 –
                      Cruel and Unusual Punishment
                    (All Plaintiffs vs. Deborah Mullane)

        173.   The averments of the previous paragraphs are incorporated by reference as if fully

set forth.

        174.   Section 1983 provides that: “every person who, under color of [law] of any State. .

. subjects, or causes to be subjected, any [person] to the deprivation of any rights. . . secured by

the Constitution and laws, shall be liable to the party injured in an action at law. . .” 42 U.S.C. §

1983.

        175.   Actions against state officials seeking redress for violations of constitutional rights

may be brought under 42 U.S.C. § 1983.

        176.   Plaintiffs are “persons” within the meaning of 42 U.S.C. § 1983.

        177.   Defendant Mullane acted in her official capacity as DON of SEVC, a state-run

facility, and was, therefore, acting under the color of state law. Defendant Mullane’s actions and

inactions violated Plaintiffs’ Eighth Amendment rights, made applicable to the states under the

Fourteenth Amendment, which is actionable under 42 U.S.C. § 1983.

        178.   Under the Eighth Amendment to the United States Constitution, made applicable

to the states pursuant to the Fourteenth Amendment, government agencies are prohibited from

subjecting citizens to cruel and unusual punishment. Actions of government officials




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demonstrating deliberate indifference to the serious medical needs of U.S. citizens represents cruel

and unusual punishment, as established in Estelle v. Gamble, 429 U.S. 97 (1976).

        179.    Residents of skilled nursing facilities, specifically including Plaintiffs herein, rely

on the facility, and therefore on the facility’s administrators, to attend to their medical needs.

        180.    Under normal circumstances, if necessary, residents of skilled nursing facilities

could leave the facility to seek medical care if adequate care was not being properly provided by

the facility.

        181.    However, during the COVID-19 pandemic, and at all times relevant hereto,

residents, including Plaintiffs, were not permitted to exit the facility due to lockdown procedures.

        182.    Furthermore, the families of residents, including Plaintiffs, were not permitted to

enter the building to check on the level of care their loved ones were receiving.

        183.    As such, nursing and personal care staff were the sole providers of medical services

to skilled and personal care residents during the lockdown periods from early March until very

recently or even presently.

        184.    Residents had absolutely no ability to seek, solicit, or find alternative medical care

when the Defendants failed to provide adequate and basic care, or often failed to provide care

altogether, which ultimately amounted to cruel and unusual punishment under the Eighth

Amendment, made actionable under the Fourteenth Amendment.

        185.    The actions of Defendant Mullane detailed above violated Plaintiffs’ rights under

the United States Constitution. In short, it was not objectively reasonable for Defendant Mullane

to ignore the serious medical problems and risks presented by the COVID-19 outbreak among a

vulnerable population and refuse to take appropriate and necessary measures to prevent such an




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outbreak. In fact, Defendant Mullane’s actions demonstration a deliberate indifference to

Plaintiffs’ serious medical needs.

       186.    There should have been policies and procedures in place, both before and during

the pandemic, to ensure that Plaintiffs’ medical needs, along with all other SEVC residents’ needs,

were being properly considered and evaluated. All of the aforementioned deficiencies establish

not only deliberate indifference on the part of Defendant Mullane, but actual malice with respect

to Plaintiffs’ life-threatening, and ultimately fatal as it relates to Plaintiffs Mottola and Murphy,

medical conditions.

       187.    Defendant Mullane intentionally ignored and/or was deliberately indifferent to the

need for appropriate policies and procedures within SEVC for the handling of COVID-19. Further,

she intentionally ignored Plaintiffs’ needs for medical attention. Defendant Mullane intentionally

deprived Plaintiffs of their constitutional right to medical treatment which ultimately caused the

deaths of Plaintiffs Mottola and Murphy, and serious medical harm of Plaintiff Trowbridge. The

actions and inactions of Defendant Mullane represent a violation of Plaintiffs’ rights under the

Eighth Amendment to the United States Constitution.

       188.    Defendants Mullane’s actions were motivated by bad faith and malice as she

intentionally subjected the Plaintiffs to the spread of the virus, and she willfully denied Plaintiffs

timely medical assistance after they became ill, which could have saved Plaintiffs Mottola and

Murphy’s lives.

       189.    The aforementioned deliberate indifference to Plaintiffs’ serious medical needs was

consistent with SEVC’s custom and policy of providing inadequate medical care to residents,

which was developed and implemented by Defendant Mullane.




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       190.    The deliberate indifference of the Defendant Mullane included, but was not limited

to the following:

               a.     Intentionally failing to establish and maintain a policies and
                      procedures to prevent the spread of COVID-19;

               b.     Intentionally understaffing the facility;

               c.     Failing to implement social distancing procedures among
                      residents, staff, and visitors;

               d.     Failing to implement any sort of quarantine procedures when
                      residents were showing symptoms of the virus or were
                      exposed to the virus;

               e.     Failing to assess and treat the symptoms of sick residents;

               f.     Failing to send residents to the hospital when their
                      conditions worsened;

               g.     Failing to notify families of residents’ changing conditions;

               h.     Failing to notify families regarding the status of the spread
                      of the virus within the facility;

               i.     Lying to the families regarding the number of sick residents
                      in the facility;

               j.     Lying to the families by stating their loved ones were healthy
                      while the residents were showing severe symptoms of the
                      virus;

               k.     Instructing staff to lie to families regarding residents’
                      conditions;

               l.     Instructing staff to not allow any resident to go to the
                      hospital despite the urgency of the residents’ conditions;

               m.     Denying staff members personal protective equipment;

               n.     Denying residents personal protective equipment;

               o.     Refusing to permit staff to speak to families and/or the
                      media/public regarding the status of the virus within the
                      facility;

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              p.     Refusing to permit staff to speak to the Pennsylvania
                     Department of Health;

              q.     Failing to properly keep families, outside medical
                     professionals, the Pennsylvania Department of Health, and
                     the general public up to date with the health situation inside
                     the facility;

              r.     Failing to test any resident within the facility for COVID-19
                     for several weeks;

              s.     Failing to track the contact spread of the virus;

              t.     Creating an extreme risk of exposure and danger to residents
                     by presuming the entire facility, all residents, and all staff
                     were positive for COVID-19 when in fact they were not all
                     infected;

              u.     Failing to test employees within the facility;

              v.     Moving employees from COVID-19 positive floors to
                     COVID-19 negative floors within the same shift;

              w.     Falsifying records;

              x.     Intentionally failing to provide adequate staff training and
                     education on infection prevention and control;

              y.     Failing to oversee the facility in providing care to residents;
                     and,

              z.     Failing to request assistance from the proper authorities
                     when it became apparent that COVID-19 was spreading
                     throughout the facility.

       191.   As a direct and proximate result of the unconstitutional acts as described above,

Plaintiffs were irreparably injured as a result of Defendant Mullane’s actions, and Plaintiffs

Mottola and Murphy died as a result of Defendant Mullane’s actions.

       WHEREFORE, Plaintiffs Lawrence Mottola, Individually and as Executor of the Estate of

Anthony Mottola, Deceased; William R. Murphy, III, Individually and as Administrator of the



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Estate of William R. Murphy, Jr., Deceased; and Lisa Krause, as Attorney-in-Fact of John

Trowbridge, claim damages of Defendant Mullane, and demand compensatory and punitive

damages from the Defendant in an amount in excess of the jurisdictional arbitration limits, together

with interest, and any other relief this Honorable Court deems appropriate.

                                 COUNT III:
   DEPRAVATION OF CIVIL RIGHTS PROTECTED UNDER FEDERAL NURSING
                    HOME REFORM ACT (“FNHRA”)
                    (All Plaintiffs vs. Rohan Blackwood)

        192.   The averments of the previous paragraphs are incorporated by reference as if fully

set forth.

        193.   Defendant Blackwood was an agent of the Commonwealth of Pennsylvania via his

position as Commandant of SEVC, a facility operated by the Department of Veterans Affairs.

Accordingly, at all times material hereto, Defendant Blackwood was acting under color of state

law.

        194.   Defendant Blackwood is bound generally by the 1987 Omnibus Budget

Reconciliation Act (“OBRA”) and the Federal Nursing Home Reform Act (“FNHRA”), which is

contained within the 1987 OBRA. See: 42 U.S.C. § 1396r; 42 U.S.C. § 1396a(w) (as incorporated

by 42 U.S.C. § 1396(r).) Defendant Blackwood is also bound generally by the OBRA/FNHRA

implementing regulations found at 42 C.F.R. § 483, et seq., which served to define specific

statutory rights set forth in the above-mentioned statutes.

        195.   The specific detailed regulatory provisions as well as the statutes in question create

rights for Plaintiffs, which are enforceable pursuant to 42 U.S.C. § 1983, as the language of these

regulations and statutory provisions clearly and unambiguously creates those rights.

        196.   Defendant Blackwood, in derogation of the above statute and regulations, and as a

custom and policy, failed to comply with the aforementioned regulations as follows:

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     a.    By failing, as a custom and policy, to ensure that residents,
           including Plaintiffs, did not suffer verbal, physical and
           mental abuse as required by 42 U.S.C.A. §
           1396r(c)(1)(A)(ii) and amplified by 42 C.F.R. § 483.13(b),
           as pled herein;

     b.    By failing, as a custom and policy, to care for residents,
           including Plaintiffs, in a manner that promoted maintenance
           or enhancement of their lives, as required by 42 U.S.C.A. §
           1396r(b)(1)(A), as pled herein;

     c.    By failing, as a custom and policy, to develop a
           comprehensive plan of care for residents, including
           Plaintiffs, to meet the residents’ medical, nursing, and
           psychosocial needs, as required by 42 U.S.C.A. §
           1396r(b)(2)(A) and amplified by 42 C.F.R. §483.20(b), as
           pled herein;

     d.    By failing, as a custom and policy, to provide residents,
           including Plaintiff, the necessary care and services to allow
           them to attain or maintain the highest, practicable, physical,
           mental and psychosocial well-being, as required 42
           U.S.C.A. § 1396r(b)(2) and amplified by 42 C.F.R. § 483.25,
           as pled herein;

     e.    By failing, as a custom and policy, to periodically review
           and revise resident's written plan of care by an
           interdisciplinary team after each of the resident’s
           assessments, as described within 42 U.S.C.A.
           §1396r(b)(3)(A) and as required by 42 U.S.C.A. §
           1396r(b)(2)(C), as pled herein;

     f.    By failing, as a custom and policy, to conduct an assessment
           of residents, such as Plaintiffs, promptly after a significant
           change in the resident's physical or mental condition occurs,
           as required by 42 U.S.C.A. §1396r(b)(3)(A) and 42 U.S.C.A.
           §1396r(b)(3)(C)(i)(II), as pled herein;

     g.    By failing, as a custom and policy, to use the results of the
           assessments required and as described above in developing,
           reviewing and revising the residents’ plan of care, such as
           Plaintiffs, as required by 42 U.S.C.A. § 1396r(b)(3)(D), as
           pled herein;

     h.    By failing, as a custom and policy, to ensure that residents,
           including Plaintiffs, were provided medically-related social

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           services to attain or maintain the highest practicable
           physical, mental and psychosocial well-being, as required by
           42 U.S.C.A. § 1396r(b)(4)(ii), as pled herein;

     i.    By failing, as a custom and policy, to ensure that residents,
           including Plaintiffs, were provided proper nutrition, as
           required by 42 U.S.C.A. § 1396r(b)(4)(A)(iv) and amplified
           by 42 C.F.R. § 483.25(g), as pled herein;

     j.    By failing, as a custom and policy, to ensure that an ongoing
           program, directed by a qualified professional, of activities
           designed to meet the interests and the physical, mental and
           psychosocial well-being of each resident, including
           Plaintiffs, as required by 42 U.S.C.A. § 1396r(b)(4)(A)(v),
           as pled herein;

     k.    By failing, as a custom and policy, to ensure that the
           personnel responsible for the care of residents, including
           Plaintiffs, were qualified to perform necessary services, as
           required by 42 U.S.C.A. § 1396r(b)(4)(B), as pled herein;

     l.    By failing, as a custom and policy, to provide sufficient
           nursing staff to provide 24-hour nursing and related services
           sufficient to meet the nursing needs of the residents,
           including Plaintiffs, as required by 42 U.S.C.A. §
           1396r(b)(4)(C), as pled herein;

     m.    By failing, as a custom and policy, to maintain clinical
           records on all residents, including Plaintiffs, including, but
           not limited to the plans of care and resident's assessment, as
           required by 42 U.S.C.A. § 1396r(b)(6)(C), as pled herein;

     n.    By failing, as a custom and policy, to keep the residents,
           including Plaintiffs, fully informed about care and treatment
           and changes in care or treatment that may affect the
           residents’ well-beings, as required by 42 U.S.C.A. §
           1396r(c)(1)(A)(i), as pled herein.

     o.    By failing, as a custom and policy, to protect and promote
           the rights of residents, including Plaintiffs, to be free from
           physical or chemical restraints imposed for the purpose of
           discipline or convenience and not required to treat the
           resident's medical symptoms, as required by 42 U.S.C.A. §
           1396r(c)(1)(A)(ii), as pled herein;




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               p.     By failing, as a custom and policy, to ensure that the SEVC
                      facility was administrated in a manner that enabled it to use
                      its resources effectively and efficiently to allow residents,
                      including Plaintiffs, to maintain or attain their highest
                      practicable level of physical, mental and psychosocial well-
                      being as required by 42 U.S.C.A. § 1396r(d)(1)(A), as pled
                      herein; and,

               q.     By failing, as a custom and policy, to ensure that the SEVC
                      was complying with federal, state, local laws, and accepted
                      professional standards which apply to professionals
                      providing services to residents, including Plaintiffs, and in
                      operating such a facility as SEVC, as required by 42
                      U.S.C.A. § 1396r(d)(4)(A), as pled herein.


       197.    Further evidence of the systematic violations of these rights, and that the violations

of these rights were part of a "custom and policy" as evidenced by the inspection report prepared

by the DOH as a result of inspections of the facility. The DOH records are attached and

incorporated by reference as Exhibit 1 to this Complaint. See Ex. 1.

       198.    The DOH records clearly establish that the violations of these rights were not

limited to singular and isolated incidents, but rather were part of a much broader and more

consistent “custom and policy” of Defendant Blackwood to violate residents’ rights.

       199.    Specifically, the DOH found that 128 of 154 residents were in immediate jeopardy.

This widespread endangerment goes to the gravity of Defendant Blackwood’s systemic failures to

maintain a safe facility for SEVC’s residents.

       200.    This custom and policy include a DOH record indicating that, after an investigation

which occurred on June 9, 2020, there was a citation issued to Defendant in regard to the care

given to Plaintiffs, when the facility failed to, among other things, properly implement the CMS

and CDC recommended practices for COVID-19 and failed to prevent the potential for cross-




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contamination of infection, specifically leading to the death of more than 42 skilled nursing

residents, including Plaintiffs.

        201.   As a proximate result of Defendant Blackwood’s actionable derogation of his

regulatory and statutory responsibilities as above-described, Plaintiffs were injured as previously

referenced, and suffering pain, distress and death (as it related to Plaintiffs Mottola and Murphy)

as a result of the poor care, treatment, and management, which exposed them to COVID-19, as

described herein. As such, Plaintiffs suffered, and are entitled to recover the following damages,

as well as an award of reasonable counsel fees pursuant to 42 U.S.C. § 1983 and 42 U.S.C. § 1988:

               a.      Pain, suffering, inconvenience, anxiety and nervousness of
                       Plaintiffs;

               b.      Hospital, medical, surgical and nursing expenses incurred;
                       and,

               c.      Other losses and damages permitted by law.

        WHEREFORE, Plaintiffs Lawrence Mottola, Individually and as Executor of the Estate of

Anthony Mottola, Deceased; William R. Murphy, III, Individually and as Administrator of the

Estate of William R. Murphy, Jr., Deceased; and Lisa Krause, as Attorney-in-Fact of John

Trowbridge, claim damages against Defendant Rohan Blackwood individually and demand

compensatory and punitive damages from the Defendant in an amount in excess of the jurisdictional

arbitration limits, together with interest, and any other relief this Honorable Court deems

appropriate.

                              COUNT IV:
    DEPRAVATION OF CIVIL RIGHTS PROTECTED UNDER FEDERAL NURSING
                     HOME REFORM ACT (“FNHRA”)

                               (All Plaintiffs vs. Deborah Mullane)




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        202.   The averments of the previous paragraphs are incorporated by reference as if fully

set forth.

        203.   Defendant Mullane was an agent of the Commonwealth of Pennsylvania via her

position as DON of SEVC, a facility operated by the Department of Veterans Affairs.

Accordingly, at all times material hereto, Defendant Mullane was acting under color of state law.

        204.   Defendant Mullane is bound generally by the 1987 Omnibus Budget Reconciliation

Act (“OBRA”) and the Federal Nursing Home Reform Act (“FNHRA”), which is contained within

the 1987 OBRA. See: 42 U.S.C. § 1396r; 42 U.S.C. § 1396a(w) (as incorporated by 42 U.S.C. §

1396(r).) Defendant Blackwood is also bound generally by the OBRA/FNHRA implementing

regulations found at 42 C.F.R. § 483, et seq., which served to define specific statutory rights set

forth in the above-mentioned statutes.

        205.   The specific detailed regulatory provisions as well as the statutes in question create

rights for Plaintiffs, which are enforceable pursuant to 42 U.S.C. § 1983, as the language of these

regulations and statutory provisions clearly and unambiguously creates those rights.

        206.   Defendant Mullane, in derogation of the above statute and regulations, and as a

custom and policy, failed to comply with the aforementioned regulations as follows:

               a.     By failing, as a custom and policy, to ensure that residents,
                      including Plaintiffs, did not suffer verbal, physical and
                      mental abuse as required by 42 U.S.C.A. §
                      1396r(c)(1)(A)(ii) and amplified by 42 C.F.R. § 483.13(b),
                      as pled herein;

               b.     By failing, as a custom and policy, to care for residents,
                      including Plaintiffs, in a manner that promoted maintenance
                      or enhancement of their lives, as required by 42 U.S.C.A. §
                      1396r(b)(1)(A), as pled herein;

               c.     By failing, as a custom and policy, to develop a
                      comprehensive plan of care for residents, including
                      Plaintiffs, to meet the residents’ medical, nursing, and

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           psychosocial needs, as required by 42 U.S.C.A. §
           1396r(b)(2)(A) and amplified by 42 C.F.R. §483.20(b), as
           pled herein;

     d.    By failing, as a custom and policy, to provide residents,
           including Plaintiffs, the necessary care and services to allow
           them to attain or maintain the highest, practicable, physical,
           mental and psychosocial well-being, as required 42
           U.S.C.A. § 1396r(b)(2) and amplified by 42 C.F.R. § 483.25,
           as pled herein;

     e.    By failing, as a custom and policy, to periodically review and
           revise resident's written plan of care by an interdisciplinary
           team after each of the resident’s assessments, as described
           within 42 U.S.C.A. §1396r(b)(3)(A) and as required by 42
           U.S.C.A. § 1396r(b)(2)(C), as pled herein;

     f.    By failing, as a custom and policy, to conduct an assessment
           of residents, such as Plaintiffs, promptly after a significant
           change in the resident's physical or mental condition occurs,
           as required by 42 U.S.C.A. §1396r(b)(3)(A) and 42 U.S.C.A.
           §1396r(b)(3)(C)(i)(II), as pled herein;

     g.    By failing, as a custom and policy, to use the results of the
           assessments required and as described above in developing,
           reviewing and revising the residents’ plan of care, such as
           Plaintiffs, as required by 42 U.S.C.A. § 1396r(b)(3)(D), as
           pled herein;

     h.    By failing, as a custom and policy, to ensure that residents,
           including Plaintiffs, were provided medically-related social
           services to attain or maintain the highest practicable
           physical, mental and psychosocial well-being, as required by
           42 U.S.C.A. § 1396r(b)(4)(ii), as pled herein;

     i.    By failing, as a custom and policy, to ensure that residents,
           including Plaintiffs, were provided proper nutrition, as
           required by 42 U.S.C.A. § 1396r(b)(4)(A)(iv) and amplified
           by 42 C.F.R. § 483.25(g), as pled herein;

     j.    By failing, as a custom and policy, to ensure that an ongoing
           program, directed by a qualified professional, of activities
           designed to meet the interests and the physical, mental and
           psychosocial well-being of each resident, including
           Plaintiffs, as required by 42 U.S.C.A. § 1396r(b)(4)(A)(v),
           as pled herein;

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     k.    By failing, as a custom and policy, to ensure that the
           personnel responsible for the care of residents, including
           Plaintiffs, were qualified to perform necessary services, as
           required by 42 U.S.C.A. § 1396r(b)(4)(B), as pled herein;

     l.    By failing, as a custom and policy, to provide sufficient
           nursing staff to provide 24-hour nursing and related services
           sufficient to meet the nursing needs of the residents,
           including Plaintiffs, as required by 42 U.S.C.A. §
           1396r(b)(4)(C), as pled herein;

     m.    By failing, as a custom and policy, to maintain clinical
           records on all residents, including Plaintiffs, including, but
           not limited to the plans of care and resident's assessment, as
           required by 42 U.S.C.A. § 1396r(b)(6)(C), as pled herein;

     n.    By failing, as a custom and policy, to keep the residents,
           including Plaintiffs, fully informed about care and treatment
           and changes in care or treatment that may affect the
           residents’ well-beings, as required by 42 U.S.C.A. §
           1396r(c)(1)(A)(i), as pled herein;

     o.    By failing, as a custom and policy, to protect and promote
           the rights of residents, including Plaintiffs, to be free from
           physical or chemical restraints imposed for the purpose of
           discipline or convenience and not required to treat the
           resident's medical symptoms, as required by 42 U.S.C.A. §
           1396r(c)(1)(A)(ii), as pled herein;

     p.    By failing, as a custom and policy, to ensure that the SEVC
           facility was administrated in a manner that enabled it to use
           its resources effectively and efficiently to allow residents,
           including Plaintiffs, to maintain or attain their highest
           practicable level of physical, mental and psychosocial well-
           being as required by 42 U.S.C.A. § 1396r(d)(1)(A), as pled
           herein; and,

     q.    By failing, as a custom and policy, to ensure that the SEVC
           was complying with federal, state, local laws, and accepted
           professional standards which apply to professionals
           providing services to residents, including Plaintiffs, and in
           operating such a facility as SEVC, as required by 42
           U.S.C.A. § 1396r(d)(4)(A), as pled herein.




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       207.    Further evidence of the systematic violations of these rights, and that the violations

of these rights were part of a "custom and policy" as evidenced by the inspection report prepared

by the DOH as a result of inspections at the facility. The DOH records are attached and

incorporated by reference as Exhibit 1 to this Complaint. See Ex. 1.

       208.    The DOH records clearly establish that the violations of these rights were not

limited to singular and isolated incidents, but rather were part of a much broader and more

consistent “custom and policy” of Defendant Mullane to violate residents’ rights.

       209.    Specifically, the DOH found that 128 of 154 residents were in immediate jeopardy.

This widespread endangerment goes to the gravity of Defendant Mullane’s systemic failures to

maintain a safe facility for SEVC’s residents.

       210.    This custom and policy includes a DOH record indicating that, after an

investigation which occurred on June 9, 2020, there was a citation issued to Defendant in regards

to the care given to Plaintiffs, when the facility failed to, among other things, properly implement

the CMS and CDC recommended practices for COVID-19 and failed to prevent the potential for

cross-contamination of infection, specifically leading to the death of more than 42 skilled nursing

residents, including Plaintiffs, as pled herein.

       211.    As a proximate result of Defendant Mullane’s actionable derogation of her

regulatory and statutory responsibilities as above-described, Plaintiffs were injured as previously

referenced, and suffering pain, distress and death (as it related to Plaintiffs Mottola and Murphy)

as a result of the poor care, treatment, and management, which exposed them to COVID-19, as

described herein. As such, Plaintiffs suffered, and are entitled to recover the following damages,

as well as an award of reasonable counsel fees pursuant to 42 U.S.C. § 1983 and 42 U.S.C. § 1988:

               a.      Pain, suffering, inconvenience, anxiety and nervousness;



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                b.     Hospital, medical, surgical and nursing expenses incurred;
                       and,

                c.     Other losses and damages permitted by law.

        WHEREFORE, Plaintiffs Lawrence Mottola, Individually and as Executor of the Estate of

Anthony Mottola, Deceased; William R. Murphy, III, Individually and as Administrator of the

Estate of William R. Murphy, Jr., Deceased; and Lisa Krause, as Attorney-in-Fact of John

Trowbridge, claim damages against Defendant Mullane individually and demand compensatory

and punitive damages from the Defendant in an amount in excess of the jurisdictional arbitration

limits, together with interest, and any other relief this Honorable Court deems appropriate.

                                            COUNT V:
                                         NEGLIGENCE
                              (All Plaintiffs vs. Rohan Blackwood)

        212.    The averments of the previous paragraphs are incorporated by reference as if fully

set forth.

        213.    At all relevant times, Defendant Blackwood acted within the course and scope of

his employment as Commandant at SEVC.

        214.    Defendant Blackwood is a “Commonwealth party” as described in 42 Pa. C.S.A. §

8522 who oversaw and provided medical care to SEVC residents; therefore, Defendant Blackwood

is liable to Plaintiffs for damages under the medical-professional liability exception to sovereign

immunity.

        215.    Defendant Blackwood had a duty to act prudently and had a duty to provide

reasonable and ordinary care and services Plaintiffs and all other SEVC residents.

        216.    Defendant Blackwood had a duty to oversee all persons who practice medicine

within SEVC’s facility.




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       217.    Defendant Blackwood had a duty to formulate, adopt, and enforce adequate rules

and policies to ensure quality care for residents such as Plaintiffs.

       218.    Defendant Blackwood negligently, recklessly, carelessly, and wantonly breached

the duties owed to Plaintiffs in the following ways:

               a.      By inadequately and improperly training and educating to
                       caregiving staff on infection prevention and control, as pled
                       herein;

               b.      By inadequately and improperly ensuring all caregiving staff
                       members attended and were properly trained on infection
                       prevention and control, and by inadequately ensuring all
                       staff were properly re-educated as required; as pled herein;

               c.      By disseminating untrue information and/or withholding
                       some or all relevant information from residents and their
                       families about the spread of COVID-19 within SEVC, so as
                       to prevent them from making informed decisions for the
                       wellbeing of their loved ones in SEVC, as pled herein;

               d.      By inadequately and improperly enforcing safe social
                       distancing among staff and residents, as pled herein;

               e.      By inadequately and improperly and improperly storing
                       linens and soiled laundry, as pled herein;

               f.      By inadequately and improperly ensuring all employees
                       properly wore gloves and performed hand hygiene, as pled
                       herein;

               g.      By inadequately and improperly ensuring all employees
                       knew of and properly followed guidelines for sanitizing
                       medical equipment in between uses on different residents, as
                       pled herein.

               h.      By inadequately and improperly ensuring all employees
                       properly used PPE and were trained on proper use of PPE,
                       as pled herein;

               i.      By inadequately and improperly ensuring all residents
                       properly used PPE and were instructed on the proper use of
                       PPE, as pled herein;



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               j.      By inadequately and improperly quarantining sick residents
                       and residents who were exposed to other residents who were
                       experiencing symptoms of COVID-19, as pled herein;

               k.      By preventing residents and staff from receiving testing for
                       COVID-19 for a period of several months, as pled herein;

               l.      By preventing sick residents from being transferred to the
                       hospital, as pled herein;

               m.      By implementing a policy that considered all residents and
                       staff were “presumed positive” whether or not they were
                       experiencing symptoms, as pled herein;

               n.      By lying to the families regarding the status of the virus
                       within the facility, as pled herein;

               o.      By preventing staff from speaking freely to the families
                       and/or media about the status of COVID-19 within the
                       facility and threatening staff about termination if staff spoke
                       freely; and,

               p.      By lying to the residents’ families regarding the condition of
                       their loved ones, as pled herein.

       219.    At all relevant times, Rohan Blackwood, as Commandant at SEVC, had a duty to

not violate the legal rights of any resident and to comply with all provisions of Title 28, Pa.

Administrative Code, Chapters 201 (General Operation of Long-Term Care Nursing Facilities)

and 211 (Program Standards for Long-Term Care Nursing Facilities) and 42 C.F.R. §483 et seq.

(Centers for Medicare & Medicaid Services, Department of Health and Human Services

Requirements for Long Term Care Facilities).

       220.    These state and federal regulations comprise part of the standard of care that

facilities like SEVC must provide to its residents.

       221.    These state and federal regulations are designed and intended to protect the interests

of skilled nursing and long-term care residents such as the Plaintiffs.




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       222.    These state and federal regulations are designed and intended to protect the interests

of skilled nursing and long-term care residents against the hazards the Plaintiffs encountered at

SEVC and the type of harm they suffered – specifically, contracting viral infections from other

residents and/or staff and ultimately dying from the virus.

       223.    Defendant Blackwood negligently, recklessly, carelessly, and wantonly violated

these state and federal regulations in the following ways:

               a.      By inadequately assessing the appropriateness of the
                       medical services provided to SEVC’s residents, as required
                       by 28 Pa. Code § 211.2(c), as pled herein;

               b.      By inadequately and improperly reviewing incidents
                       occurring in SEVC and addressing the health and safety
                       hazards of the facility, as required by 28 Pa. Code §
                       211.2(d)(1), as pled herein;

               c.      By withholding appropriate information from SEVC’s
                       Administrator, and/or DON, in order to ensure a safe and
                       sanitary environment for residents and personnel, as required
                       by 28 Pa. Code § 211.2(d)(1), as pled herein;

               d.      By improperly implementing resident care policies, as
                       required by 42 C.F.R. 483.70(h), as pled herein; and,

               e.      By inadequately and improperly coordinating medical care
                       in SEVC, as required by 42 C.F.R. § 483.70(h), as pled
                       herein.

       224.    As a direct and proximate result of the negligent, reckless, careless, and wanton

actions and inactions of Defendant Blackwood, as set forth above, the Plaintiffs suffered the

following damages:

               a.      The Plaintiffs experienced pain, suffering, infirmity,
                       deterioration, debilitation, loss of enjoyment of life, anxiety,
                       and isolation/confinement from contracting and being
                       treated for the COVID-19; and,

               b.      The Plaintiffs incurred hospital, medical, and nursing
                       expenses to be treated for the COVID-19 virus and its
                       sequelae and effects.

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        225.   Furthermore, because the negligence of Defendant Blackwood went beyond

ordinary negligence into gross negligence, recklessness, and wanton conduct, Plaintiffs are entitled

to recover punitive damages.

        226.   Defendant DMVA as owner and operator of SEVC is vicariously liable for the acts

and omissions of Defendant Blackwood, as set forth in this Count, and are therefore jointly and

severally liable for the damages claimed herein.

        WHEREFORE, Plaintiffs Lawrence Mottola, Individually and as Executor of the Estate of

Anthony Mottola, Deceased; William R. Murphy, III, Individually and as Administrator of the

Estate of William R. Murphy, Jr., Deceased; and Lisa Krause, as Attorney-in-Fact of John

Trowbridge, claim damages against Defendant Rohan Blackwood and demand compensatory and

punitive damages from the Defendant in an amount in excess of the jurisdictional arbitration limits,

together with interest, and any other relief this Honorable Court deems appropriate.

                                            COUNT VI:
                                         NEGLIGENCE
                               (All Plaintiffs vs. Deborah Mullane)

        227.   The averments of the previous paragraphs are incorporated by reference as if fully

set forth.

        228.   At all relevant times, Defendant Mullane acted within the course and scope of her

employment as the DON at SEVC.

        229.   Defendant Mullane is a “Commonwealth party” as described in 42 Pa. C.S.A. §

8522 who oversaw and provided medical care to SEVC residents; therefore, Defendant Mullane is

liable to Plaintiffs for damages under the medical-professional liability exception to sovereign

immunity.




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       230.    Defendant Mullane had a duty to act prudently and had a duty to provide reasonable

and ordinary care and services Plaintiffs and all other SEVC residents.

       231.    Defendant Mullane had a duty to ensure that all persons providing care within

SEVC were competent to provide such care.

       232.    Defendant Mullane negligently, recklessly, carelessly, and wantonly breached the

duties owed to Plaintiffs in the following ways:

               a.     By inadequately and improperly training and educating to
                      caregiving staff on infection prevention and control, as pled
                      herein;

               b.     By inadequately and improperly ensuring all caregiving staff
                      members attended and were properly trained on infection
                      prevention and control, and by inadequately ensuring all
                      staff were properly re-educated as required; as pled herein;

               c.     By disseminating untrue information and/or withholding
                      some or all relevant information from residents and their
                      families about the spread of COVID-19 within SEVC, so as
                      to prevent them from making informed decisions for the
                      wellbeing of their loved ones in SEVC, as pled herein;

               d.     By inadequately and improperly enforcing safe social
                      distancing among staff and residents, as pled herein;

               e.     By inadequately and improperly and improperly storing
                      linens and soiled laundry, as pled herein;

               f.     By inadequately and improperly ensuring all employees
                      properly wore gloves and performed hand hygiene, as pled
                      herein;

               g.     By inadequately and improperly ensuring all employees
                      knew of and properly followed guidelines for sanitizing
                      medical equipment in between uses on different residents, as
                      pled herein.

               h.     By inadequately and improperly ensuring all employees
                      properly used PPE and were trained on proper use of PPE,
                      as pled herein;



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               i.      By inadequately and improperly ensuring all residents
                       properly used PPE and were instructed on the proper use of
                       PPE, as pled herein;

               j.      By inadequately and improperly quarantining sick residents
                       and residents who were exposed to other residents who were
                       experiencing symptoms of COVID-19, as pled herein;

               k.      By preventing residents and staff from receiving testing for
                       COVID-19 for a period of several months, as pled herein;

               l.      By preventing sick residents from being transferred to the
                       hospital, as pled herein;

               m.      By implementing a policy that considered all residents and
                       staff were “presumed positive” whether or not they were
                       experiencing symptoms, as pled herein;

               n.      By lying to the families regarding the status of the virus
                       within the facility, as pled herein;

               o.      By preventing staff from speaking freely to the families
                       and/or media about the status of COVID-19 within the
                       facility and threatening staff about termination if staff spoke
                       freely; and,

               p.      By lying to the residents’ families regarding the condition of
                       their loved ones, as pled herein.

       233.    At all relevant times, Defendant Mullane, as DON at SEVC, had a duty to not

violate the legal rights of any resident and to comply with all provisions of Title 28, Pa.

Administrative Code, Chapters 201 (General Operation of Long-Term Care Nursing Facilities)

and 211 (Program Standards for Long-Term Care Nursing Facilities) and 42 C.F.R. §483 et seq.

(Centers for Medicare & Medicaid Services, Department of Health and Human Services

Requirements for Long Term Care Facilities).

       234.    These state and federal regulations comprise part of the standard of care that

facilities like SEVC must provide to its residents.




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       235.    These state and federal regulations are designed and intended to protect the interests

of skilled nursing and long-term care residents such as the Plaintiffs.

       236.    These state and federal regulations are designed and intended to protect the interests

of skilled nursing and long-term care residents against the hazards the Plaintiffs encountered at

SEVC and the type of harm they suffered – specifically, contracting viral infections from other

residents and/or staff and ultimately dying from the virus.

       237.    Defendant Mullane negligently, recklessly, carelessly, and wantonly violated these

state and federal regulations in the following ways:

               a.      By inadequately assessing the appropriateness of the
                       medical services provided to SEVC’s residents, as required
                       by 28 Pa. Code § 211.2(c), as pled herein;

               b.      By inadequately and improperly reviewing incidents
                       occurring in SEVC and address the health and safety hazards
                       of the facility, as required by 28 Pa. Code § 211.2(d)(1), as
                       pled herein;

               c.      By withholding appropriate information to SEVC
                       Administrators in order to ensure a safe and sanitary
                       environment for residents and personnel, as required by 28
                       Pa. Code § 211.2(d)(1), as pled herein;

               d.      By improperly implementing resident care policies, as
                       required by 42 C.F.R. 483.70(h), as pled herein; and,

               e.      By inadequately and improperly coordinating medical care
                       in SEVC, as required by 42 C.F.R. § 483.70(h), as pled
                       herein.

       238.    As a direct and proximate result of the negligent, reckless, careless, and wanton

actions and inactions of Defendant Mullane, as set forth above, the Plaintiffs suffered the following

damages:

               a.      The Plaintiffs experienced pain, suffering, infirmity,
                       deterioration, debilitation, loss of enjoyment of life, anxiety,
                       and isolation/confinement from contracting and being
                       treated for the COVID-19; and,

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               b.      The Plaintiffs incurred hospital, medical, and nursing
                       expenses to be treated for the COVID-19 virus and its
                       sequelae and effects.

        239.   Furthermore, because the negligence of Defendant Mullane went beyond ordinary

negligence into gross negligence, recklessness, and wanton conduct, Plaintiffs are entitled to

recover punitive damages.

        240.   Defendant DMVA as owner and operator of SEVC is vicariously liable for the acts

and omissions of Defendant Mullane, as set forth in this Count, and are therefore jointly and

severally liable for the damages claimed herein.

        WHEREFORE, Plaintiffs Lawrence Mottola, Individually and as Executor of the Estate of

Anthony Mottola, Deceased; William R. Murphy, III, Individually and as Administrator of the

Estate of William R. Murphy, Jr., Deceased; and Lisa Krause as Attorney-in-Fact of John

Trowbridge, claim damages against Defendant Deborah Mullane and demand compensatory and

punitive damages from the Defendant in an amount in excess of the jurisdictional arbitration limits,

together with interest, and any other relief this Honorable Court deems appropriate.

                                      COUNT VII:
                          NEGLIGENCE: VICARIOUS LIABILITY
                                (All Plaintiffs vs. SEVC)

        241.   The averments of the previous paragraphs are incorporated by reference as if fully

set forth.

        242.   SEVC is a “Commonwealth party” as described in 42 Pa. C.S.A. § 8522 which

provides medical care to the residents within its facility; therefore, SEVC is liable to Plaintiffs for

damages under the medical-professional liability exception to sovereign immunity.

        243.   SEVC employs individuals who work in a solely managerial and supervisory

capacity, and who do not provide hands-on care to residents. These managerial and supervisory

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health care personnel include (but are not limited to) positions such as the Commandant,

Administrator, Assistant Administrator, Director of Nursing, and Assistant Director of Nursing.

       244.    At all relevant times, the acts committed by SEVC’s managerial and supervisory

agents, servants, and/or health care personnel constitute “[a]cts of health care employees of

Commonwealth party who is a doctor, dentist, nurse or related health care personnel…” as

described in the medical-professional liability exception to sovereign immunity pursuant to 42 Pa.

C.S.A. § 8522(b)(2).

       245.    At all relevant times, SEVC acted by and through these managerial and supervisory

agents, servants, and/or health care personnel, who were then and there acting within the course

and scope of their employment. Accordingly, SEVC is vicariously liable for any negligence of

these managerial and supervisory agents, servants, and/or employees.

       246.    This cause of action is limited to SEVC’s vicarious liability for the negligence of

only these managerial/supervisory health care personnel who did not provide hands-on care to

residents—such as the Commandant, Administrator, Assistant Administrator, Director of Nursing,

and the Assistant Director of Nursing. Plaintiffs do not seek to hold SEVC vicariously liable for

the actions or inactions of SEVC’s front-line caregiving nursing staff, whose members did the best

they could to provide care in the dangerous atmosphere created by SEVC and SEVC’s

management.

       247.    SEVC, by and through its supervisory and administrative health care personnel,

specifically including the Commandant, Administrator, Assistant Administrator, Director of

Nursing, and the Assistant Director of Nursing, had a duty to provide appropriate health care and

health care services to residents in a reasonable manner and in accordance with appropriate

standards of care.



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       248.    SEVC, by and through its managerial and supervisory health care personnel

negligently, recklessly, carelessly, and wantonly breached their duties owed to the Plaintiffs in the

following ways:

               a.      By inadequately establishing and maintaining an infection
                       prevention and control program (“IPCP”) that provided a
                       safe, sanitary and comfortable environment which prevented
                       the development and transmission of communicable
                       diseases and infections, namely the transmission of COVID-
                       19, as pled herein;

               b.      By inadequately establishing written standards, policies, and
                       procedures for the above-mentioned IPCP, which should
                       have specified a system of surveillance designed to identify
                       possible communicable diseases before they can spread to
                       other persons in the facility, to whom and when possible
                       incidents of communicable disease or infections should be
                       reported, precautions to be followed to prevent the spread of
                       infections, when and how isolation should be used for a
                       resident, and circumstances under which the facility must
                       prohibit and prevent employees with communicable disease
                       or infections from having direct contact with residents, as
                       pled herein, as pled herein;

               c.      By inadequately training and educating caregiving staff on
                       infection prevention and control, as pled herein, as pled
                       herein;

               d.      By inadequately and improperly ensuring all caregiving staff
                       members attended and were properly trained on infection
                       prevention and control, and by failing to ensure all staff were
                       properly re-educated as required; as pled herein, as pled
                       herein;

               e.      By inadequately communicating truthful information to
                       residents and their families about the spread of COVID-19
                       within the SEVC facility, so as to allow them to make
                       informed decisions for the wellbeing of their loved ones in
                       the SEVC facility, as pled herein;

               f.      By inadequately establishing and enforcing social distancing
                       procedures to staff and residents, as pled herein;




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     g.    By improperly storing clean linens and soiled laundry, as
           pled herein;

     h.    By inadequately enforcing the use of gloves and proper hand
           hygiene, as pled herein;

     i.    By inadequately ensuring all employees properly used PPE
           and were trained on proper use of PPE, as pled herein;

     j.    By inadequately ensuring all residents properly used PPE
           and were instructed on the proper use of PPE, as pled herein;

     k.    By inadequately ensuring all employees knew of and
           properly followed guidelines for sanitizing medical
           equipment in between uses on different residents, as pled
           herein;

     l.    By systemically and intentionally understaffing the facility,
           as pled herein;

     m.    By housing sick residents and residents who were exposed
           to other residents who were experiencing symptoms with
           residents who were not sick, as pled herein;

     n.    By exposing healthy residents to sick residents experiencing
           symptoms of COVID-19, as pled herein;

     o.    By refusing to test any resident or staff for several months,
           as pled herein;

     p.    By forcing the residents, including residents experiencing
           symptoms of COVID-19 and residents who were not
           experiencing symptoms of COVID-19 to eat in the same
           lunchroom for several months, as pled herein;

     q.    By implementing a policy that considered all residents and
           staff as “presumed positive” whether or not they were
           experiencing symptoms of COVID-19, as pled herein;

     r.    By lying to residents’ families regarding the status of the
           virus within the facility, as pled herein;

     s.    By lying to the residents’ families regarding the condition of
           their loved ones, as pled herein; and,




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               t.      By refusing to transfer sick residents to the hospital
                       promptly, as pled herein.

       249.    At all relevant times, SEVC’s managerial and supervisory personnel had a duty to

not violate the legal rights of any resident and to comply with all provisions of Title 28, Pa.

Administrative Code, Chapters 201 (General Operation of Long-Term Care Nursing Facilities)

and 211 (Program Standards for Long-Term Care Nursing Facilities) and 42 C.F.R. §483 et seq.

(Centers for Medicare & Medicaid Services, Department of Health and Human Services

Requirements for Long Term Care Facilities).

       250.    These state and federal regulations comprise part of the standard of care that

facilities like SEVC must provide to its residents.

       251.    These state and federal regulations are designed and intended to protect the interests

of skilled nursing and long-term care residents such as the Plaintiffs.

       252.    These state and federal regulations are designed and intended to protect the interests

of skilled nursing and long-term care residents against the hazards the Plaintiffs encountered at

SEVC and the type of harm they suffered – specifically, contracting viral infections from other

residents and/or staff and dying from the virus.

       253.    SEVC’s managerial and supervisory health care personnel negligently, recklessly,

carelessly, and wantonly violated these state and federal regulations in the following ways:

               a.      By improperly and inadequately enforcing regulations
                       relative to the level of health care and safety of residents, as
                       required by 28 Pa. Code § 201.18(e)(1), as pled herein;

               b.      By improperly and inadequately developing and enforcing
                       adherence to policies and procedures to protect residents’
                       rights, as required by 28 Pa. Code § 201.29(a), as pled
                       herein;




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     c.    By improperly and inadequately training staff in proper
           implementation of policies and procedures, as required by
           28 Pa. Code § 201.29(d), as pled herein;

     d.    By improperly and inadequately treating Plaintiffs with
           consideration, respect, and full recognition of dignity and
           individuality, as required by 28 Pa. Code § 201.29(j), as pled
           herein;

     e.    By improperly and inadequately reporting to the appropriate
           health agencies and appropriate Division of Nursing Care
           Facilities field office when a resident developed a reportable
           disease, as required by 28 Pa. Code § 211.1(a), as pled
           herein;

     f.    By improperly and inadequately designing and
           implementing resident care policies to ensure the Plaintiffs’
           total medical needs were met and that they were protected
           from infection, as required by 28 Pa. Code § 211.10(d), as
           pled herein;

     g.    By improperly and inadequately updating the facility’s
           resident care policies as necessary to meet the total medical
           and psychosocial needs of SEVC’s residents, as required by
           28 Pa. Code §211.10, as pled herein;

     h.    By the Director of Nursing’s inadequacies in maintaining
           standards of accepted nursing practice, as required by 28 Pa.
           Code §211.12(d)(1), as pled herein;

     i.    By the Director of Nursing’s inadequacies in ensuring that
           the facility maintained proper nursing policy and procedure
           manuals, as required by 28 Pa. Code §211.12(d)(2), as pled
           herein;

     j.    By the Director of Nursing’s inadequacies in ensuring that
           the facility maintained proper methods for coordination of
           nursing services with other resident services, as required by
           28 Pa. Code §211.12(d)(3), as pled herein;




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     k.    By the Director of Nursing’s inadequacies in making proper
           recommendations for the number and levels of nursing
           personnel to be employed, as required by 28 Pa. Code
           §211.12(d)(4), as pled herein;

     l.    By the Director of Nursing’s inadequacies in providing
           adequate general supervision, guidance, and assistance in the
           implementation of residents’ personal health programs to
           assure that preventative measures, treatments, and other
           health services were properly carried out, as required by 28
           Pa. Code §211.12(d)(5), as pled herein;

     m.    By improperly and inadequately protecting and promoting
           Plaintiffs’ rights as residents, as required by 42 C.F.R. §
           483.10, as pled herein;

     n.    By improperly and inadequately ensuring that every
           resident, including Plaintiffs and their representatives, could
           exercise his or her rights without interference, coercion,
           discrimination, or reprisal from the facility, as required by
           42 C.F.R. § 483.10(b)(1), as pled herein;

     o.    By improperly and inadequately treating each resident with
           respect and dignity and care in a manner and in an
           environment that promotes maintenance or enhancement of
           his or her quality of life, as required by 42 C.F.R. §
           483.10(a)(1), as pled herein;

     p.    By improperly and inadequately ensuring all residents,
           including Plaintiffs, received the necessary care and services
           to attain or maintain the highest practicable qualify of life,
           including physical, mental, and psychosocial well-being, as
           required by 42 C.F.R. § 483.24, as pled herein;

     q.    By improperly and inadequately ensuring all residents,
           including Plaintiffs, received treatment and care in
           accordance with professional standards of practice, as
           required by 42 C.F.R. § 483.25, as pled herein;

     r.    By improperly and inadequately maintaining an emergency
           preparedness plan that meets the minimum requirements, as
           set forth by 42 C.F.R. § 483.73, as pled herein;


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              s.     By improperly and inadequately maintaining an infection
                     prevention and control program designed to provide a safe,
                     sanitary, and comfortable environment and to help prevent
                     the development and transmission of communicable
                     diseases and infection, as required 42 C.F.R. § 483.80, as
                     pled herein;

              t.     By improperly and inadequately establishing a system for
                     preventing, identifying, reporting, investigating, and
                     controlling infections and communicable diseases for all
                     residents, staff, volunteers, visitors, as required by 42 C.F.R.
                     § 483.80(a)(1), as pled herein;

              u.     By improperly and inadequately establishing a system of
                     surveillance designed to identify possible communicable
                     diseases or infections before they can spread to other persons
                     in the facility, as required by 42 C.F.R. § 483.80(a)(2)(i), as
                     pled herein;

              v.     By improperly and inadequately establishing a system that
                     specified standard and transmission-based precautions to be
                     followed to prevent spread of infections, as required by 42
                     C.F.R. § 483.80(a)(2)(iii), as pled herein;

              w.     By improperly and inadequately establishing a system that
                     specified when and how isolation should be used for a
                     resident, including the type and duration of the isolation, as
                     required by 42 C.F.R. § 483.80(a)(2)(iv), as pled herein;

              x.     By improperly and inadequately establishing a system that
                     specified the circumstances under which the facility must
                     prohibit employees with a communicable disease from direct
                     contact with residents, if direct contract will transmit the
                     disease, as required by 42 C.F.R. § 483.80(a)(2)(v), as pled
                     herein; and,

              y.     By the designated Infection Preventionist(s)’ inadequacies
                     of administering the facility’s IPCP in accordance with the
                     requirements of 42 C.F.R. § 483.80, as pled herein.


       254.   As a direct and proximate result of the negligent, reckless, careless, and wanton

acts and omissions of SEVC’s managerial and supervisory health care personnel, as set forth

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above, SEVC’s caregiving staff was unable to contain and control the spread of COVID within

SEVC’s walls.

       255.     As a direct and proximate result of the negligent, reckless, careless, and wanton

acts and omissions of SEVC’s managerial and supervisory health care personnel, as set forth

above, the Plaintiffs were exposed to and contracted COVID-19.

       256.     As a direct and proximate result of the negligent, reckless, careless, and wanton

acts and omissions of SEVC’s managerial and supervisory health care personnel, as set forth

above, the Plaintiffs suffered the following damages:

                a.     The Plaintiffs experienced pain, suffering, infirmity,
                       deterioration, debilitation, loss of enjoyment of life, anxiety,
                       and isolation/confinement from contracting and being
                       treated for the COVID-19; and,

                b.     The Plaintiffs incurred hospital, medical, and nursing
                       expenses to be treated for the COVID-19 virus and its
                       sequelae and effects.

       257.     Furthermore, because the negligence of SEVC’s managerial and supervisory health

care personnel went beyond ordinary negligence into gross negligence, recklessness, and wanton

conduct, Plaintiffs are entitled to recover punitive damages.

       WHEREFORE, Plaintiffs Lawrence Mottola, Individually and as Executor of the Estate of

Anthony Mottola, Deceased; William R. Murphy, III, Individually and as Administrator of the

Estate of William R. Murphy, Jr., Deceased; and Lisa Krause, as Attorney-in-Fact of John

Trowbridge claim damages against Defendant Department of Military and Veterans Affairs, as

owner and operator of Southeastern Veterans’ Center, and demand compensatory damages from

the Defendant in an amount in excess of the jurisdictional arbitration limits, together with interest,

and any other relief this Honorable Court deems appropriate.




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                                         COUNT VIII:
                                  CORPORATE NEGLIGENCE
                                    (All Plaintiffs vs. SEVC)

        258.   The averments of the previous paragraphs are incorporated by reference as if fully

set forth.

        259.   SEVC is a “Commonwealth party” as described in 42 Pa. C.S.A. § 8522 which

provides medical care to the residents within its facility; therefore, SEVC is directly liable to

Plaintiffs for damages under the medical-professional liability exception to sovereign immunity.30

        260.   SEVC exercised complete control over all aspects of the operation and management

of SEVC prior to and during the COVID outbreak at SEVC, including, but not limited to hiring

and training caregiving staff; monitoring resident acuity levels and staffing sufficiently to meet

each resident’s needs; admitting and discharging residents to and from the facility; and creating

and enforcing written policies and procedures to provide for the safety and well-being of all

residents.

        261.   Each of these managerial and operational functions had a direct impact on the

quality of care provided to the Plaintiffs and other residents in SEVC.

        262.   SEVC had a duty to act prudently and had a duty to provide reasonable and ordinary

care and care services to the Plaintiffs.




30
  Plaintiffs plead this cause of action with the understanding that so-called “corporate negligence”
claims against Commonwealth parties are not currently considered within the “medical
professional” liability exception. See e.g. Moser v. Heistand, 681 A.2d 1322, 1326 (Pa. 1996);
Byrne v. Dept. of Military and Veterans Affairs, 2019 WL 1284539, *3 (Pa. Cmwlth 2019);
Cornish v. City of Philadelphia, 2015 WL 4931758 *7 (E.D. Pa. 2015); Lor v. Com., 2000 WL
186839 *4 (E.D. Pa. 2000). However, Plaintiffs plead this cause of action with the good faith belief
that current caselaw incorrectly interprets the immunity statutes, and the Pennsylvania Supreme
Court will determine as such. See Moser v. Heistand, 681 A.2d 1322, 1327 (Pa. 1996) (Nigro, J.,
dissenting).
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        263.    SEVC had a duty to provide caregiving staff with sufficient personal protective

equipment, sanitation and hygiene products, and medical tools to prevent cross-contamination and

the spread of infection to residents, including Plaintiffs, and other staff.

        264.    SEVC had a duty to ensure that all persons providing care within the SEVC facility

were competent to provide that care.

        265.    SEVC had a duty to oversee all medical care provided to its residents, including

Plaintiffs.

        266.    SEVC had a duty to formulate, adopt, and enforce adequate rules and policies to

ensure quality care for residents at SEVC, such as the Plaintiffs.

        267.    SEVC had a duty to ensure that SEVC was sufficiently staffed to meet the needs of

its residents, including Plaintiffs.

        268.    SEVC had a duty to enforce its policies and procedures regarding infectious disease

and cross-contamination.

        269.    Defendant SEVC negligently, recklessly, carelessly, and wantonly breached its

duties owed to the Plaintiffs, Anthony Mottola, William R. Murphy, and John Trowbridge in the

following particulars:

                a.       By inadequately establishing and maintain an infection
                         prevention and control program (“IPCP”) that provided a
                         safe, sanitary and comfortable environment which prevents
                         the development and transmission of communicable
                         diseases and infections, namely the transmission of COVID-
                         19, as pled herein;

                b.       By inadequately establishing written standards, policies, and
                         procedures for above-mentioned IPCP, which should have
                         specified a system of surveillance designed to identify
                         possible communicable diseases before they can spread to
                         other persons in the facility, to whom and when possible
                         incidents of communicable disease or infections should be
                         reported, precautions to be followed to prevent the spread of

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           infections, when and how isolation should be used for a
           resident, and circumstances under which the facility must
           employees with communicable disease or infections from
           having direct contact with residents, as pled herein;

     c.    By inadequately providing staff training and education on
           infection prevention and control, which is required to occur
           at least annually as in-service training, as pled herein;

     d.    By inadequately ensuring all staff attended and were
           properly trained on infection prevention and control and
           failing to ensure all staff were properly re-educated as
           required, as pled herein;

     e.    By inadequately ensuring that the Commandant, Rohan
           Blackwood, and Director of Nursing, Deborah Mullane,
           were properly overseeing the facility in providing care to
           residents, as pled herein;

     f.    By inadequately ensuring that the Commandant, Rohan
           Blackwood, and Director of Nursing, Deborah Mullane,
           were properly safeguarding that the quality of care provided
           met all applicable standards, as pled herein;

     g.    By inadequately ensuring that the Commandant, Rohan
           Blackwood, and Director of Nursing, Deborah Mullane,
           were properly auditing infection control procedures, as
           required, as pled herein;

     h.    By inadequately communicating and discussing important
           medical information to the families of residents, so as to
           allow them to make necessary medical decisions on behalf
           of their resident family members, as pled herein;

     i.    By inadequately keeping families, outside medical
           professionals, the Pennsylvania Department of Health, and
           the general public up to date with the health situation inside
           the facility, as pled herein;

     j.    By inadequately requesting assistance from the proper
           authorities when it became apparent that COVID-19 was
           spreading throughout the facility, as pled herein;

     k.    By inadequately testing residents and staff for COVID-19 so
           as to properly separate positive individuals from those who
           had not been exposed to the virus, as pled herein;

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     l.    By creating an extreme risk of exposure and danger to
           residents by presuming the entire facility, all residents, and
           all staff were positive for COVID-19 when in fact they were
           not all infected, as pled herein;

     m.    By inadequately establishing and enforcing social distancing
           procedures were maintained by staff, as pled herein;

     n.    By improperly storing clean linens and soiled laundry, as
           pled herein;

     o.    By inadequately providing proper supplies to perform
           handwashing, as pled herein;

     p.    By inadequately ensuring sinks are accessible to perform
           handwashing, as pled herein;

     q.    By inadequately and improperly storing biohazardous waste,
           as pled herein;

     r.    By inadequately ensuring all employees properly wear
           gloves and perform hand hygiene, as pled herein;

     s.    By inadequately ensuring all employees had access to and
           properly used PPE, as pled herein;

     t.    By inadequately ensuring all employees knew of and
           properly followed sanitary guidelines for sanitizing medical
           equipment in between uses on different residents, as pled
           herein;

     u.    By inadequately maintaining a clean and sanitary
           environment, the lack of which created the potential for
           cross-contamination and the spread of diseases and
           infections, as pled herein; and,

     v.    By improperly recognizing and appreciating the extreme risk
           of the spread and cross-contamination of COVID-19 to
           residents, who due to age, pre-existing conditions, and living
           arrangements are already some of the most vulnerable in our
           communities.




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        270.   At all relevant times, SEVC had a duty to not violate the legal rights of any resident

and to comply with all provisions of Title 28, Pa. Administrative Code, Chapters 201 (General

Operation of Long-Term Care Nursing Facilities) and 211 (Program Standards for Long-Term

Care Nursing Facilities) and 42 C.F.R. §483 et seq. (Centers for Medicare & Medicaid Services,

Department of Health and Human Services Requirements for Long Term Care Facilities).

        271.   These state and federal regulations comprise part of the standard of care that

facilities like SEVC must provide to its residents, including Plaintiffs.

        272.   These state and federal regulations are designed and intended to protect the interests

of skilled nursing and long-term care residents, such as the Plaintiffs.

        273.   These state and federal regulations are designed and intended to protect the interests

of skilled nursing and long-term care residents against the hazards the Plaintiffs encountered at

SEVC and the type of harm they suffered – specifically, contracting viral infections from other

residents and/or staff , and, as it related to Plaintiffs Mottola and Murphy, ultimately dying from

the virus.

        274.   SEVC negligently, recklessly, and wantonly breached its duties owed to the

Plaintiffs in the following ways:

               a.      By improperly and inadequately electing an effective
                       governing body to adopt and enforce rules for the health care
                       and safety of the residents, as required by 28 Pa. Code §
                       201.18, as pled herein;

               b.      By inadequately conducting ongoing coordinated
                       educational programs for the development and improvement
                       of skills of the facility’s personnel, including training related
                       to problems, needs, and rights of the residents, as required
                       by 28 Pa. Code § 201.20(a), as pled herein;

               c.      By inadequately conducting in-service training at least
                       annually which includes infection prevention and control, as
                       required by 28 Pa. Code §201.20(c), as pled herein;

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     d.    By admitting or re-admitting residents to SEVC with disease
           in the communicable stage when the facility did not have the
           capability to care for the needs of the resident, as prohibited
           by 28 Pa. Code §201.24(d), as pled herein;

     e.    By inadequately and improperly training staff in the
           implementation of policies and procedures, as required by
           28 Pa. Code § 201.29(d), as pled herein;

     f.    By inadequately treating Plaintiffs with consideration,
           respect, and full recognition of dignity and individuality, as
           required by 28 Pa. Code § 201.29(j), as pled herein;

     g.    By inadequately reporting to the appropriate health agencies
           and appropriate Division of Nursing Care Facilities filed
           office when a resident developed a reportable disease, as
           required by 28 Pa. Code § 211.1(a), as pled herein;

     h.    By inadequately designing and implementing resident care
           policies to ensure the Plaintiffs’ total medical needs were
           met and that they were protected from infection, as required
           by 28 Pa. Code § 211.10(d), as pled herein;

     i.    By inadequately updating the facility’s resident care policies
           as necessary to meet the total medical and psychosocial
           needs of SEVC’s residents, as required by 28 Pa. Code
           §211.10, as pled herein;

     j.    By inadequately providing services by a sufficient number
           of nursing personnel on a 24-hour basis to provide nursing
           care to meet the needs of all residents, as required by 28 Pa.
           Code § 211.12, as pled herein;

     k.    By inadequately protecting and promoting Plaintiffs’
           resident rights, as required by 42 C.F.R. § 483.10, as pled
           herein;

     l.    By inadequately treating each resident in a manner and in an
           environment that promoted maintenance or enhancement of
           his or her quality of life, as required by 42 C.F.R. §
           483.10(a)(1), as pled herein;

     m.    By inadequately and improperly notifying residents’
           representatives when there were significant changes in

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           residents’ physical statuses, as required by 42 C.F.R. §
           483.10(g)(14), as pled herein;

     n.    By inadequately providing residents with a safe, clean,
           comfortable, and homelike environment, as required by 42
           C.F.R. § 483.10(i), as pled herein;

     o.    By inadequately providing housekeeping and maintenance
           services necessary to maintain a sanitary, orderly, and
           comfortable interior, as require by 42 C.F.R. § 483.10(i)(2),
           as pled herein;

     p.    By discouraging residents from communicating with federal,
           state, or local officials, as prohibited by 42 C.F.R. §
           483.10(k), as pled herein;

     q.    By inadequately conducting a comprehensive assessment for
           the residents, including Plaintiffs, after significant changes
           in their condition, as required by 42 C.F.R. § 483.20, as pled
           herein;

     r.    By inadequately ensuring all residents, including the
           Plaintiffs, received the necessary care and services to attain
           or maintain the highest practicable qualify of life, including
           physical, mental, and psychosocial well-being, as required
           by 42 C.F.R. § 483.24, as pled herein;

     s.    By inadequately ensuring all residents, including Plaintiffs,
           received treatment and care in accordance with professional
           standards of practice, as required by 42 C.F.R. § 483.25, as
           pled herein;

     t.    By inadequately providing sufficient nursing staff with the
           appropriate competencies and skill sets to provide nursing
           and related services to assure resident safety and attain or
           maintain the highest practicable physical, mental, and
           psychosocial well-being, as determined by resident
           assessments and individual plans of care and considering the
           number, acuity and diagnoses of the facility’s resident
           population, as required by 42 C.F.R. § 483.35, as pled
           herein;

     u.    By inadequately providing services by sufficient registered
           nurses on a 24-hour basis to provide nursing care to the
           plaintiff residents in accordance with their care plans, as
           required by 42 C.F.R. § 483.35(b), as pled herein;

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     v.    By inadequately obtaining diagnostic services to meet the
           needs of its residents, including Plaintiffs, as required by 42
           C.F.R. § 483.50(b), as pled herein;

     w.    By inadequately administering the SEVC facility in such a
           way that enabled it to use its resources effectively and
           efficiently to attain or maintain the highest practicable
           physical, mental, and psychosocial well-being of each
           resident, as required by 42 C.F.R. § 483.70, as pled herein;

     x.    By inadequately operating to provide services in compliance
           with all applicable Federal, State, and local laws,
           regulations, and codes, and with accepted professional
           standards and principles, as required by 42 C.F.R. § 483.70,
           as pled herein;

     y.    By inadequately conducting and documenting a facility-
           wide assessment to determine what resources were
           necessary to care for the facility’s residents competently
           during both day-to-day operations and emergencies and to
           review and update this assessment whenever there was any
           change that would require a substantial modification to any
           part of this assessment, and for this assessment to include the
           care required by the resident population considering the
           types of diseases and overall acuity present within that
           population, as required by 42 C.F.R. § 483.70(e), as pled
           herein;

     z.    By inadequately establishing and maintaining an emergency
           preparedness plan that meets the requirements of 42 C.F.R.
           § 483.73, as pled herein;

     aa.   By inadequately establishing and maintaining an infection
           prevention and control program designed to provide a safe,
           sanitary, and comfortable environment and to help prevent
           the development and transmission of communicable
           diseases and infection, as required 42 C.F.R. § 483.80, as
           pled herein;

     bb.   By inadequately establishing a system for preventing,
           identifying, reporting, investigating, and controlling
           infections and communicable diseases for all residents, staff,
           volunteers, visitors, as required by 42 C.F.R. § 483.80(a)(1),
           as pled herein;



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     cc.   By inadequately establishing a system of surveillance
           designed to identify possible communicable diseases or
           infections before they can spread to other persons in the
           facility, as required by 42 C.F.R. § 483.80(a)(2)(i), as pled
           herein;

     dd.   By inadequately establishing a system which specified
           standard and transmission-based precautions to be followed
           to prevent spread of infections, as required by 42 C.F.R. §
           483.80(a)(2)(iii), as pled herein;

     ee.   By inadequately establishing a system which specified when
           and how isolation should be used for a resident, including
           the type and duration of the isolation, as required by 42
           C.F.R. § 483.80(a)(2)(iv), as pled herein;

     ff.   By inadequately establishing a system which specified the
           circumstances under which the facility must prohibit
           employees with a communicable disease from direct contact
           with residents, if direct contract will transmit the disease, as
           required by 42 C.F.R. § 483.80(a)(2)(v), as pled herein;

     gg.   By inadequately complying with the requirements of 42
           C.F.R. § 483.80(g)(3) for informing residents and their
           families of Covid-10 occurrences in the facility, as pled
           herein;

     hh.   By inadequately providing a safe, functional, sanitary, and
           comfortable environment to residents, staff, and the public,
           as required by 42 C.F.R. § 483.90, as pled herein;

     ii.   By inadequately developing, implementing, and maintaining
           an effective training program for all new and existing staff,
           individuals providing services under a contractual
           arrangement, and volunteers, as required by 42 C.F.R. §
           483.95, as pled herein; and,

     jj.   By inadequately including as part of its infection prevention
           and control program mandatory training that includes the
           written standards, policies, and procedures for the program,
           as required by 42 C.F.R. § 483.95(e), as pled herein.




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        275.   As a direct and proximate result of the negligent, reckless, careless, and wanton

acts and omissions of SEVC, as set forth above, SEVC’s caregiving staff was unable to contain

and control the spread of COVID within SEVC’s walls.

        276.   As a direct and proximate result of the negligent, reckless, careless, and wanton

acts and omissions of SEVC, as set forth above, the Plaintiffs were exposed to and contracted

COVID-19 and ultimately died from the virus.

        277.   As a direct and proximate result of the negligent, reckless, careless, and wanton

conduct and omissions of SEVC, as set forth above, Plaintiffs claim the following damages:

               a.      The pain, suffering, infirmity, deterioration, debilitation,
                       confinement, loss of enjoyment of life, and anxiety of
                       Plaintiffs related to their injuries and treatment; and,

               b.      Hospital, medical, and nursing expenses.

        WHEREFORE, Plaintiffs Lawrence Mottola, Individually and as Executor of the Estate of

Anthony Mottola, Deceased; William R. Murphy, III, Individually and as Administrator of the

Estate of William R. Murphy, Jr., Deceased; and Lisa Krause, as Attorney-in-Fact of John

Trowbridge, claim damages claim damages of the Department of Military and Veterans Affairs as

owner and operator of Southeastern Veteran Center, and demand compensatory damages from the

Defendant in an amount in excess of the jurisdictional arbitration limits, together with interest, and

any other relief this Honorable Court deems appropriate.

                                          COUNT IX:
                                    WRONGFUL DEATH
                             (Deceased Plaintiffs vs. All Defendants)

        278.   The averments of the previous paragraphs are incorporated by reference as if fully

set forth.




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       279.    As a proximate result of all of the Defendants’ conduct as above-described, all

Plaintiffs suffered injuries and died as a result of the poor care and treatment which they received

by all of the Defendants as previously described. As such, Plaintiffs have also suffered the

following damages:

               a.      Money for funeral and estate expenses because of the death
                       of the Plaintiffs;

               b.      Loss of the services, assistance, guidance, counseling,
                       companionship, and society of the Plaintiffs; and,

               c.      Financial support and all pecuniary benefits which they
                       would have received from the Plaintiffs.

       WHEREFORE, Plaintiffs Lawrence Mottola, Individually and as Executor of the Estate of

Anthony Mottola, Deceased; and William R. Murphy, III, Individually and as Administrator of the

Estate of William R. Murphy, Jr., Deceased claim damages of the Department of Military and

Veterans Affairs as owner and operator of Southeastern Veteran Center, Rohan Blackwood, and

Deborah Mullane, and demand compensatory damages from the Defendants in an amount in

excess of the jurisdictional arbitration limits, together with interest, and any other relief this

Honorable Court deems appropriate.


A JURY TRIAL IS DEMANDED

Dated: September 22, 2021                            Respectfully submitted,


                                                     /s/ Robert F. Daley
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